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         1                     UNITED STATES DISTRICT COURT

         2                    CENTRAL DISTRICT OF CALIFORNIA

         3

         4           HONORABLE EDWARD RAFEEDIE, JUDGE PRESIDING

         5

         6   UNITED STATES OF AMERICA,

         7                    PLAINTIFF,

         8              VS.                           NO. CR 87-422(A)-ER

         9   JESUS FELIX-GUTIERREZ,
             RAUL LOPEZ-ALVAREZ,
        10   RENE MARTIN VERDUGO-URQUIDEZ,
             ET AL.,
        11
                              DEFENDANTS.
        12

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        15               REPORTER'S TRANSCRIPT OF PROCEEDINGS

        16                      LOS ANGELES, CALIFORNIA

                                  MONDAY, JUNE 6, 198

        ~s                                                  ENTERED ON COURTRAN
                                      10:00 A. M.       t
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         1    LOS ANGELES, CALIFORNIA, MONDAY, JUNE 6, 1988, 10:00 A. M,

        2                   THE CLERK:    Item No. 5, Criminal 87-422(B),

        3    United States of America vs. Rene Martin Verdugo and others.

        4                   Counsel, please state your names for the record.

        5                   MR. RANDOLPH:    Good morning, Your Honor.

        6    Donald Randolph on behalf of Jesus Felix-Gutierrez.

        7                   MR. TARLOW:    Good morning, Your Honor.

        8    Barry Tarlow also appearing on behalf of Mr. Felix.

        9                   MR. RANDOLPH:    Also with me is an associate,

        10   Mary O'Keefe.

        11                  MR. GURULE:    Good morning, Your Honor.

        12   Jimmy Gurule and Roel Campos appearing on behalf of the

        13   United States.

        14               MS. LEYVA:       Elsa Leyva and Yolanda Barrera

        15   appearing for Raul Lopez-Alvarez.

        16               MR. PANCER:       Good morning, Your Honor.

        17   Michael Pancer and Juanita Brooks appearing for

        18   Rene Verdugo, who is not present.         His appearance has

        19   been waived.    He is in custody in San Diego.

       20                THE COURT:       All right.    Well, we have a number

       21    of motions here filed by the Defendant Verdugo as well as

       u     by the Defendant Felix-Gutierrez and other motions which

       23    have been joined in by other defendants.        I have read

       24    and considered each of the motions that has been filed

       2S    as well as the opposition.      What I plan to do, since I
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                                                                             3


         1   don't intend to devote the entire day to argument on

         2   this case and I assume that by your motions you have

         3   put your best foot forward by your motions, I will announce

         4   my tentative rulings on the motions and the reasons for

         5   these rulings, and then I will give you an opportunity

         6   to respond.    I don't want you to be reiterating what

         7   you have stated in writing because it has been carefully

         8   considered.

         9                             We will take these in the order

        10   in which they have been filed here.     The first motion
        11   is a motion by the Defendant Felix-Gutierrez called a

        12   Second Supplemental Motion for Discovery, and this is

        13   a motion that also deals with the Defendant Verdugo for

        14   discovery of Brady material, which has been joined in

        1S   by all defendants.

        16                 I have to say that some of these motions

        17   constitute an abuse of the Court because they seem to

        18   be rehashing and reiterating matters which we have

        19   already gone over before and have previously been decided.

        20   They have been disguised to appear to be something else,

        21   but they really address the same issues in some instances

        u    that have been addressed before.     This Court has held
        23   two hearings on discovery matters, and the discovery

        24   motion deadline has passed.    The Defendant Verdugo files
        25   his motion as a Motion for Discovery under Brady.
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                                                                             4


         1   Defendant Felix files his motion as a Second Supplemental

         2   Motion, thereby attempting, I assume, to have the filing

         3   relate back to the original discovery motion.

         4                The Government states that it is well aware

         S   of its continuous duty under Brady and will continue to

        6    comply with those requirements.

         7                The Defendant Verdugo's Motion for Discovery

         8   of Reports, Memoranda, and Other Documents Prepared by

         9   Camarena and relating to undercover contacts by Camarena

        10   in the Republic of Colombia or elsewhere and reflecting

        11   a motivation on behalf of individuals in Colombia for

        12   retaliation against Camarena, the Government's response

        13   to this request indicates that they know of no such

        14   documents.   If there are such documents and they qualify

        15   as Brady material, then they should be provided, and the

        16   Government has advised the Court that it is well aware of

        17   its duty and will continue to comply with those require-

        18   ments.

        19                The second request is for all reports, memos,

        20   et cetera, relating to undercover contact by Camarena,

        21   whether or not such reports are prepared by Camarena,

        u    relating to suspects in Colombia or elsewhere with a

        23   motive to retaliate against Camarena.     Again, the

        24   Government's response is that no such documents are known

        25   to exist.
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         1                Request No. 3 requests all reports, et cetera,

         2   in the possession of the U. S. Government reflecting the

         3   identity of suspects with a motive for retaliation against

         4   Camarena.

         5                Why is it necessary to file this?      Can you
         6   tell me why you filed these requests?

         7                MR. PANCER:   Oh, yes, Your Honor.     I can tell
         8   the Court that under the law of Brady as we understand it,

         9   it is absolutely necessary that we make a specific request

        10   for what we consider to be Brady information; and if we

        11   don't delineate exactly what the Brady information might

        12   be, and the Government comes across it, then they don't

        13   have to give it to us.

        14                Also, Your Honor, we may disagree with the

        1S   Government about what is Brady information.      While they
        16   understand their case from a particular position and a

        17   particular point of view, they don't understand the defense

        18   point of view.   So it is absolutely incumbent upon us,

        19   Your Honor, to be specific in our Brady request, and that

        20   is just what we have done, and I don't think, Your Honor,

        21   that we could have done anything different and effectively

        22   represented our client.

        23               We are not trying to rehash anything that has

        24   already been decided, Your Honor.     As I understand it,
        25   certainly what Your Honor is referring to now is a new
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         1   matter, and, Your Honor, quite candidly, if the Court

         2   will look at the Government's response to that specific

         3   item, you will see why we have to be so specific.       The

         4   item that Your Honor is referring to is our request for

         5   reports that could give us information as to other persons

         6   who are suspects in the crime, and the Government in their

         7   response says explicitly that the only people who were

         8   suspects in the crime about whom they have reports are

         9   those persons named in the indictment.

        10                Now, Your Honor, as a matter of fact, that

        11   is absolutely not true.     There are other persons who we

        12   know that the Government suspects as being involved in

        13   this crime and who I believe they have memoranda and

        14   reports about, who are not named in this indictment.

        15   There are persons who are named --

        16                THE COURT:    Well, just a moment.    You have

        17   answered my question.

        18                MR. PANCER:    Thank you, Your Honor.

        19                THE COURT:    Question 3 is for all reports in

        20   the possession of the U. S. Government reflecting the

        21   identity of suspects with a motive for retaliation against

        22   Camarena.   The Government denies any such information is

        23   known to the Government at this time and suggests that

        24   this request is overbroad in any event.      But they deny

        25   having any such information now.
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                          No. 4 requires all reports, et cetera, in the

         2   possession of the United States reflecting that Camarena

         3   was not acting in the official performance of his duties

         4   in the City of Guadalajara or that he performed his duties

         5   in an improper manner, and the response again is that

         6   there was no such documents or any such information.

         7                Requests 5 and 6 address all reports relating

         8   to the joint participation of U. S. law enforcement agents

         9   with Mexican law enforcement agents in the investigation

        10   of the case, in the kidnapping of Defendant Verdugo, and

        11   in the kidnapping of Matta Ballesteros and other suspects

        12   in this case.

        13                The Government states that internal memoranda

        14   are not discoverable and that there is no authority for

        15   this request.

        16                It is the Court's view that joint participation

        17   of the United States and a foreign country is only relevant

        18   where a defendant seeks to suppress evidence based upon

        19   an unconstitutional search and seizure.      .The   Fourth
        20   amendment applies to searches by foreign authorities in

        21   their own countries only where the United State's

        u    participation in the investigation is so substantial that

        23   the action is a joint venture between U. S. and foreign

        24   officials.

        25                In this case Verdugo argues that such evidence
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         1   can be used to prove governmental misconduct and that

         2   Verdugo was illegally seized in Mexico.      Brady held that

         3   the due process clause requires the Government to disclose

         4   evidence favorable to an accused where the evidence is

         5   material either to guilt or punishment.      Brady vs. Maryland

         6   is of course 83 Supreme Court.     The evidence requested in

         7   this motion is not exculpatory; rather, it appears to be

         S   collateral.    The discovery motion cut-off date has passed

         9   and this motion could have been made prior to the cut-off

        10   date.   Defendant has failed to state any authority for

        11   granting the motion.

        12                 Now, in Requests 7 through 11 the defendant

        13   requests all Department of Justice correspondence relating

        14   to the transfer of the Grand Jury investigation and the

        15   indictment from the Southern District of California to

        16   the Central District, including all documents in the

        17   possession of the U. S. Attorney's Office in the Southern

        18   or Central District of California, the District of Columbia,

        19   or the Department of Justice in Washington.       The documents

        20   are sought in order to support the defendant's claim that

        21   the case was transferred to this district because the

        22   Government was dissatisfied with Judge Irving's rulings

        23   in the Southern District.

        24                 Well, first, the Government says it is not

        25   aware of any such documents.     Second, if there are any
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          1   such documents, the defendant would not be entitled to

         2    internal documents reflecting governmental policy or

         3    strategy.

         4                It is my view that this request should be

         S    denied for the following reasons:     The defendant must
         6    produce some evidence tending to support its claim that

         7    its due process rights have been violated due to governmenta

         8    forum shopping.   The defendant points to the fact that
         9    the Grand Jury investigation in this case was transferred

         10   from the District of Columbia Grand Jury to the Southern

         11   District of California, and the indictment was returned

         12   in this district after Judge Irving of the Southern

         13   District granted a motion to suppress.     The defendants
         14   further point to the Government's motion for a low-numbered

         15   transfer to Judge Rymer as evidence that the Government

         16   was attempting to have a particular judge decide this case.

         17               There is a serious question as to whether
         18   defendants in fact -- the law is that the only time a

         19   defendant's due process rights are violated by forum

        20    shopping, if at all, is where the choice of forum is

        21    outcome determinative.   That is, there is a prejudgment
        ?.2   in the case and a determinative judgment will be made

        23    in the forum which is said to be resulting from forum

        24    shopping.
        25                In this case the prosecution's choice of forum
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         1   has no effect on the substantive law to be applied
                                                                in
         2   the case.    Moreover, the Government has indicated it

         3   is not aware of any such documents.      When the Court
         4   rules upon defendant's Motion to Dismiss pursuant
                                                               to
         5   improper forum shopping, it will consider defend
                                                              ant's
         6   Request for Discovery.     However, if the facts alleged

         7   do not give rise to relief, then the discovery issue
                                                                  is
         S   moot.   This business about low-numbered transfer, which

         9   is required by the local rules, is nothing at all sinist
                                                                      er,
        10   and it is the Government's responsibility to file a

        I1   low-number request when it is believed that the case is

        12   related to another case.

        13                Now, Items 12 and 13, Disclosure of Identity

        14   of Other Suspects in the Camarena Investigation, this

        15   is a matter that will be covered in the Motion for
                                                                the
        16   Bill of Particulars.

        17                Defendant Gutierrez' Supplemental Motion for

        18   Discovery.   The defendant requests evidence reflecting

        19   the involvement of Matta Ballesteros and Jose Contreras-

        20   Subias in the murder of Agent Camarena.      The defendant
        21 ! argues that this information is Brady material.      The
        u    defendant argues that the information is favorable
                                                                to
        23   the defendant because newspaper stores have reported

        24   that the Government believes that Matta Ballesteros'

        25   drug ring planned and carried out the murder of Camare
                                                                    na.
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                                                                            11

         1   Thus, .there may be evidence exonerating Caro-Quintero, and

         2   therefore Gutierrez, because he is charged with an aider

         3   and abettor.

         4                  The Government states that it is not aware

         S   of any Brady information at this time.

         6                 The Court's point of view is that the

         7   Government has acknowledged its obligation under Brady

         8   and therefore must provide information favorable to the

         9   defendants.    However, if there is no such information

        10   at this time, it can be inferred from this response that

        11   evidence that Matta's alleged crime organization was

        12   involved in the kidnapping and murder of Camarena does

        13   not indicate that Caro-Quintero's alleged crime organization

        14   was not involved.    If there is such information available,

        15   then the Government must carry out its obligation under

        16   the Brady case.

        17                 That would be the intention of the Court with

        18   respect to this Motion for Discovery.

        19                 MR. RANDOLPH:   May I respond briefly, Your

        20 ~ Honor.

        21                 THE COURT:   Very briefly.

        u                  MR. RANDOLPH:   First I assume -- the Court

        23   didn't mention that Felix Gutierrez' motion fell in the

        24   category of being filed late, and I think the Court

        25   probably took note of the fact that the article to which
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                                                                            12


         1   we made reference was dated April 7th, and we filed the

         2   motion within a few days thereafter.

         3                 I think the Court is correct that the

         4   Government has stated they do not have any Brady material,

         5   but Felix is in a different category than any other

         6   co-defendants.    In order to prove Felix guilty, the

         7   Government must first prove that Caro-Quintero is guilty

         8   of the murder.

         9                 In the article which we cited and attached

        10   as an exhibit to our motion, the Government states as

        11   follows, and I am quoting:

        12                      "U. S. Intelligence points to

        13                 him (Matta), if not for the actual

        14                 murder, then for the planning and

        15                 direction of it.      that it was

        16                 Matta's Padrino drug organization in

        17                 Guadalajara" -- that was involved.

        18                 In the indictment before this Court, my client

        19   is alleged to have been a member, not of the Matta Padrino

        20   drug organization, but of the Caro-Quintero narcotics

        21   enterprise.    These are two separate and distinct organi-

        u    zations, the defense believes, if indeed they exist at

        23   all.

        24                 And to the extent the Government has information,

        25   or as they say in the newspaper article by the Government's
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                                                                               13

         1   sNokesmen U. S. Intelligence that it was Matta
                                                            and his
         2   organization that was responsible, then that is
                                                             Brady
         3   material, Your Honor, because it would be excul
                                                             patory
         4   of Mr. Felix; if it was Matta's organization that
                                                               was
         5   responsible and not Caro-Quintero unless it is
                                                            the
         6   Government's position, as some people laughingly
                                                              believe
         7   in the public, that every drug organization that
                                                              has any
         8   name whatsoever in Mexico is somehow responsible
                                                              and that
         9   they were all focusing on this incident at once.

        10                THE COURT:     The quote that you gave there

        11   states he either caused or directed the murder of
                                                               Camarena.
        12                MR. RANDOLPH:    It says, "if not for the actual

        13   murder," Your Honor.      That is the quote I am focusing on.

        14                THE COURT:    All right.     If not for the actual
        15   murder, what else?

        16                MR. RANDOLPH:    Then for the planning and
        17   direction of it.

        18                THE COURT:    All right.   Planning and direction
        19   of it.

        20               MR. RANDOLPH:     Yes, sir.    If the Government
        21   has information, which it appears they do, in their

        22 intelligence that it was Matta who was involved in
                                                              any
        23   or all of these things, that information would be
                                                               Brady
        24   material as exculpatory of Felix.

        25               THE COURT:     It isn't exculpatory if this fellow
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                                                                            14


         1   directed the murder and it was done by the other people.

         2                MR. RANDOLPH:     If indeed they are including

         3   Caro-Quintero as being part of Matta's drug organization,

         4   the Padrino drug organization in Guadalajara, and if the

         5   Government is intending to prove that Caro-Quintero and

         6   Matta's Padrino drug organization were one and the same,

         7   and they have evidence of that fact, then it would be

         S   less exculpatory.

         9                However, Your Honor, that is not the truth;

        10   and if the Government has information that Matta's organi-

        11   zation is over here and Caro-Quintero's is here, then you

        12   have Brady material.

        13                THE COURT:    Do you have any such information?

        14                MR. GURULE:     No, Your Honor.   If either

        IS   Matta Ballesteros or Contreras-Subias were to be indicted

        16   in connection with the murder of the Special Agent Camarena,

        17   they would be indicted in this indictment or a superseding

        18   indictment and would be charged as co-conspirators.

        19                MR. RANDOLPH:    Let me address that, Your Honor.
        20                THE COURT:    Well, is there any need to?

        21                MR. RANDOLPH:    Yes.

                          THE COURT:    Why?

        23                MR. RANDOLPH:    Your Honor, we have a new
        24   phrase that has become apparent in the 1980's, and

        25   especially in 1988.    That is deniability.    What apparently
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                                                                              15

         1    is going on is that people who are investigating Matta

         2    in Washington, D. C., and are making statements that he

         3    is responsible for the death of Camarena are withholding

         4    either by choice or by design information from Mr. Gurule

         5    so that he can stand up and say, "Your Honor, I don't

         6    know anything about Mr. Matta being responsible for the

         7    death of Camarena."   And he can look Your Honor in the

         8    eye and say that that is true.

         9                We have one Government, Your Honor, and just

         10   because Washington, D. C.    believes that Matta is the

        11    guilty party, and Mr. Gurule believes that Caro-Quintero

        12    is, that is Brady material within the hands of the Governmen

        13    and we should be entitled to that, and the Government

        14    should have to make a submission to this Court that they

        15    have no information whatsoever that the Government, the

        16    United States Government, not Mr. Gurule, that this state-

        17    ment that   their   representative made to the press in

        18    Washington, D. C., has any truth to it whatsoever.

        19                I think that is the minimum of what Brady should ~

        20    require.

        21                THE COURT:    All right.

        22                MR. PANCER:    Your Honor, may I inquire.    Your

        23    Honor has given some tentative rulings, and I understand

        24    that Your Honor doesn't want a great deal of argument on

        25    the tentative rulings.    I don't know what little argument
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                                                                              16

         1   Your Honor wants.    We would like to offer argument in

         2   response to the Government's motions.        Mr. Randolph has
         3   argued, and I have some words to say on a related
                                                               subject.
         4                 THE COURT:    Well, keep in mind -- you know,
         5   we were going to finish these, I hope, by noon today.

         6   Keep in mind that the Court has carefully considered

         7   your best arguments already that ar.e contained in
                                                                the
         S   documents which you have filed.       So if you are just going
         9   to reiterate those, it serves no purpose.         If you have
        10   something new that should be considered, I would be glad

        I1   to hear it.

        12                 MR. PANCER:     All right.   What I have is by
        13   way of response to their motions, Your Honor, and if
                                                                  now
        14   would be an appropriate time to go to at least one
                                                                of your
        15   tentative rulings, I would like to do it now, Your Honor.

        16                 THE COURT:    Which one?
        17                 MR. RANDOLPH:    Before we get sidetracked, I'd
        18   ask the Court to make an order that the Government tell

        19   the Court whether they have any information that Matta

        20   was the one who perpetrated the crime.         They can answer
        21   "yes" or "no," but as long as they are speaking for
                                                                 what
        u    they know here in Los Angeles and for what the United

        23   States Government knows at this time.

        24                 THE COURT:    What about that?
        25                 MR. GURULE:   Well, the question -- the critical
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                                                                            17

          1   question is not whether Matta committed the crime but

         2    whether Caro-Quintero didn't commit the crime, whether

         3    this other organization independent of the Caro-Quintero

         4    organization committed the crime, and as to that question

         S    the answer to that is no.     The Government has no informa-

         6    tion that would undercut the indictment that the Government

         7    has filed alleging that the Caro-Quintero organization

         8    and members of the Caro-Quintero organization directly

         9    participated and caused the kidnapping and murder.

         10               THE COURT:     Does the Government have any

         11   information that this other man, Matta Ballesteros, was

         12   involved in that murder?

         13               MR. GURULE:     There is some information that

         14   he may have participated along with members of the

         1S   Caro-Quintero organization, and that is why my earlier

         16   statement, Your Honor, was that if in fact Matta Ballesteros

         17   were to be indicted -- if there were sufficient evidence,

        18    which at this point the Government is not maintaining

        19    there is, he would be indicted in this indictment in a

        20    second superseding indictment as a co-conspirator, not

        21    in a separate indictment.

                          THE COURT:    Why shouldn't the information that

        23    you have be provided to the defendants?

        24                MR. GURULE:    Because it is an ongoing investi-

        2S    gation at this point in time, Your Honor, and there are
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                                                                            18

         1   other individuals -- the name Contreras-Subias has also

         2   come up.    It is an ongoing investigation, and the Government

         3   feels that to go ahead and disclose that information would

         4   undermine this ongoing investigation as to those two indi-

         5   viduals.

         6                 And the Government further maintains that it

         7   is not Brady because it does not in any way undercut

         8   Jesus Felix-Gutierrez' involvement as an accessory after

         9   the fact.   It does not in any way tend to undercut the

        10   Government's position or the Government's theory in that

        11   respect.

        12                 MR. RANDOLPH:   The defense in this case will

        13   be, Your Honor, not only did Jesus Felix not aid and abet

        14   Caro-Quintero, but that Caro-Quintero himself did not

        15   commit the crimes he is accused of.     We submitted last

        16   week a declaration by Caro-Quintero under oath to that

        17   effect.

        18                MR. GURULE:    That should be dispositive.

        19                MR. RANDOLPH:    Excuse me, Your Honor.    Our

        20   defense will be that other persons committed this crime,

        21   not Caro-Quintero.   To the extent that the Government now

             has information that indeed other persons committed this

        23   crime, that is Brady material.     That is the defense of

        24   the case.

        2S                THE COURT:    Well, the Government is ordered to
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                                                                            19

         1   submit to the Court in camera the information
                                                           it has
         2   regarding these other people for consideration
                                                            as to
         3   whether or not it should be disclosed.

         4                 MR. RANDOLPH:    May that be within ten days,

         5   Your Honor.

         6                 THE COURT:    That should be within five days.

         7                 MR. RANDOLPH:   Thank you very much.

         8                 MR. PANCER:   If I may, Your Honor.    As I said,
         9   my remarks are related to what was just being discu
                                                                 ssed.

        10                 If the Court will recall, when we asked for

        I1   No. 3 in our discovery motion, that was memoranda
                                                               and

        12   reports dealing with others with motives or other
                                                               s who

        13   are suspects in the Camarena murder, and the Gover
                                                                nment's
        14   response, Your Honor, was that all of the suspects
                                                                are
        15   named in this indictment.

        16                 Now, what the Court has just heard is that

        17   that statement that the Government made in its
                                                            motion is
        18   in fact not true, that Mr. Ballesteros apparently
                                                               is a
        19   suspect, and it was a newspaper article that promp
                                                                ted us
        2C   to make that specific discovery request.

        21                 Again, the Government states in their response

        27   that there are no other suspects in the response
                                                              to the
        23   discovery motion, but in their response to the
                                                            severance
        2~ I motion, on page 12, the Government states:

        2!                     "Furthermore, the Government
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                                                                               zo

         1                   maintains that numerous other indi-

         2                   viduals who have yet to be indicted

         3                   are suspects in the kidnapping and

         4                   the murder."

         5                   Now, Your Honor, when they respond to one

         6    motion, they say there are no other suspects,       other than

         7    named in the indictment; and when they are responding to

              another motion, they say that there are other suspects.
         8

         9                   I think, Your Honor, if we just speed through

        10    these motions, we will not hold the Government accountable

        11    at least to a consistent position, whether it is right

             ~ or wrong.
        12

        13                   Your Honor, I would ask that all other suspects,

        14    all reports related to other suspects be turned over to

        15    the defense.

        16                   The way Mr. Gurule would defend this case, he

        17    wouldn't consider it Brady material.     The way we are going

        18    to defend this case, it is Brady material.     We are going

        19    to use it in our defense, and we don't have to allow the

        20    Government to decide the nature of our defense or to

        21    decide what is Brady material, and I would ask, Your Honor,

        u    that the reports, considering as they state in response to

        23   our severance motion that numerous other individuals are

        24 suspects, be turned over to the defense, Your Honor.

        25                 THE COURT:   What about that?
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                                                                            21


         1                MR. GURULE:   Briefly, Your Honor, in a sense

         2   what Mr. Pancer is asking for is information or reports

         3   that the Government has regarding unindicted co-conspirators.

         4   The subject is Brady, and the legal authority for such a

         5   request is Brady.    Now, if there are unindicted co-

         6   conspirators, that in and of itself does not constitute

         7   Brady material, and Mr. Pancer has not set forth or

         8   articulated why that would constitute Brady material.

         9                Now, in the Bill of Particulars the Government

        10   has responded to that specific request, the disclosure

        11   of unindicted co-conspirators, and that is discussed at

        12   length in the Government's response relative to that.

        13   It is the Government's position that other unindicted

        14   co-conspirators does not constitute Brady.

        15               If there was somebody else who was driving

        16   the vehicle that was used to kidnap Special Agent Camarena

        17   and that individual was not named in the Government's

        18   second superseding indictment, the fact that hE~ is not

        19   named as an unindicted co-conspirator does not constitute

        20   Brady material, and there is no proffer, there is no

        21   specific or reasonable argument in support of that.

        u    Again, it is just a blanket fishing-type expedition.

        23               MR. PANCER:    First, Your Honor, we have to

        24   deal with their response in which they say that there are

        25   no other suspects and there are no reports.      First I think
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                                                                            22

         1   we have to find out if there are other suspects and there

         2   are other reports.    I can think of a number of ways in

         3   which that information would be Brady, but first we have

         4   to get to the threshold information.

         5                U. S, vs. Bibero allows the defense to decide

         6   what is Brady in terms of how it intends to present its

         7   case.   I am not saying that every single one of those

         8   reports will turn out to be Brady.         Your Honor, given

         9   the long statement that was taken by one of the co-defendant

        10   in this case, if there are other suspects, that could well

        11   undermine that statement which the Government intends to

        12   try to introduce in this case to prove some of the elements

        13   in this case.

        14               But, Your Honor, I think first we have to find

        15   out if there are such reports.     In that regard, Your Honor,

        16   I have discussed with Mr. Gurule the statement by

        17   Mr. Dougherty, the spokesman for the Department of Justice,

        18   in the newspaper that Mr. Ballesteros was a suspect.       First

        19   I was told that that information was not correct, that he

        20   was not a suspect, that further checking would be done.

        21   Upon further checking Mr. Gurule told me much what he has

        22   told the Court here today, that if he is a suspect, he is

        2~   a suspect along with and not in any way inconsistent with

        24   the Caro-Quintero organization.

        2S               I asked then that we have an affidavit by
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                                                                            23

         1   Mr. Dougherty or have Mr. Dougherty here, and I understood

         2   that something like that was going to happen, either to

         3   have an affidavit by Mr. Dougherty stating on what reports

         4   he relied when he made his statement to the papers that

         S   Mr. Ballesteros was a suspect or an affidavit to the

         6   effect that there were no reports; and if none of that

         7   was going to happen, we wanted him here so he could explain

         8   to Your Honor why he slandered Mr. Ballesteros in the press

         9   of this country by saying he was a suspect.

        10                I don't know if an affidavit is here.       I would
        11   inquire through the Court if the Government intends to

        12   follow through on that or a representation that they were

        1~   going to obtain something for the defense in writing.

        14                THE COURT:    Did you say that you would?

        15                MR. GURULE:    What I said that I would do is

        16   contact Mr. Dougherty, which I have done, in an attempt to

        17   put together a declaration.    I have not been able to put

        18   together a declaration simply because of the time constraints

        19   relative to attempting to get in the Government's opposition.

        20   That declaration could be provided.

        21               I would detail to the Court that based upon

        22   my conversation again with Mr. Dougherty, that the Governm
                                                                        ent s
        23   position remains the same, that there is nothing inconsis-

        24   tent with Mr. Matta Ballesteros being a suspect in this

        25   case and the indictment which the Government has filed
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         1   with the Court.    Again, if he were to be indicted, he

         2   would be indicted as a co-conspirator in this case under

         3   the same theory.

         4                THE COURT:    What if he wasn't to be indicted?

         S                MR. GURULE:    If he wasn't to be indicted?

         6                THE COURT:    Yes.

         7                MR. GURULE:    Basically that would mean that

         8   the Government simply did not have enough evidence to prove

         9   the crime against him.

        10                THE COURT:    Aren't these people entitled to

        11   know what the evidence is that you have against him?

        12                MR. GURULE:    Not if it is not Brady, not if

        13   it is not material, and that is what the United States

        14   Supreme Court in Brady has defined or articulated in

        15   terms of exculpatory material.     It must be exculpatory --

        16                THE COURT:    Who decides that?

        17                MR. GURULE:   Initially the Government decides

        16   that.   Initially the Government looks at the information

        19   and determines whether or not it is material in terms of

        20   exculpating the defendant.

        21               Now, if there were a challenge, if the defense

        u    then comes in with a substantial showing that yes, it is --

        23   now, we are talking about something specific, not just some

        24   general allegation that is unsupported -- then the appropri-

        2S   ate procedure, and there is substantial case authority
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         1   fcr this proposition, it would be submitted in camera for

         2   the judge to make the ultimate determination of whether

         3   or not it is material.

         4                THE COURT:    All right.   That is enough argument.

         5   You provide the declaration that you promised to the

         6   defendant within ten days.     My inclination at this time•

         7   is to deny those motions that have been filed without

         8   prejudice, and upon examination of the material I directed

         9   you to file with the Court within five days and this

        10   declaration from this individual, that matter may be

        11   reconsidered.

        12                MR. PANCER:    Your Honor, does that include

        13   information they have concerning other -- reports they

        14   have concerning other suspects?

        15                THE COURT:    Does what include?

        16                MR. PANCER:    Your order that --

        17                THE COURT:    My order related to what Mr. Randolph

        18   requested.

        19                MR. PANCER:   As to our Request No. 3, that is,

        20   reports relating to other suspects, which again we still

        21   haven't resolved which of their positions they are adopting

        u    here in court, which of the positions they took in the

        23   motion papers, there either are other suspects or there

        24   are not other suspects.

        25                Assuming there are, that they stand by what
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                                                                                 26

              1   they said in response to the severance motion, would Your

              2   Honor require that at least those reports be submitted

              3   to Your Honor?

              4                MR. GURULE:    What is being requested now is

              5   the information regarding unindicted co-conspirators.

              6   The Ninth Circuit has held, consistently held, that the

              7   Government is not required to disclose the identity of

              8   unindicted co-conspirators.

              9                This is an attempt, furthermore, to identify

             10   cooperating witnesses who are unidentified co-conspirators

             11   that may be testifying on behalf of the Government.       That

             12   is one concern that the Government has.

             13                Secondly, again there is no specific showing

             14   as to why or how information regarding unindicted

             15   co-conspirators would constitute material evidence to

             16   exculpate the defendant.     It is a fishing expedition.

             17   Brady does not require disclosure in that instance.

             18                MR. PANCER:    Your Honor, we are requesting

             19   that it be presented in camera.     I don't see how the

             20   Government's position is valid.

             21                THE COURT:    Well, I think they can be presented

             22   to the Court in camera, and the Court will decide, after

             23   reviewing that evidence, and determine whether or not there

             24   should be any change in this order.

             25                MR. PANCER:   And for whatever assistance it may


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                                                                             27

         1   be to the Court, Your Honor, if they do have information

         2   concerning Per. Ballesteros, I will state that the defen
                                                                      se

         3   would have information that would be evidence that would

         4   be Brady because we will have evidence then that that is

         5   a totally separate organization.        So given the evidence

         6   that the defense has that maybe the Government somehow

         7   doesn't have -- although I find that hard to belie
                                                                ve --

         8   we have evidence that that would be a totally separ
                                                                 ate

         9   organization.     So anything that would indicate that

        10
             Mr. Ballesteros is involved we are contending would
                                                                 be

        11   Brady, which is part of the problem with the Government

        12   deciding what is Brady because it maybe doesn't know

        13   everything that we know, and that is why we are
                                                             --

        14                  THE COURT:   Well, it is also part of the

        15   problem with the defendants deciding what is Brady
                                                                and

        16   is a device for obtaining what they are other
                                                           wise not

        17   entitled to.    So there is a balancing that has to be

        18   done by the Court.

        19               MR. PANCER:      I understand, Your Honor.

        20               MR. GURULE:      Could we have ten days, Your Honor,

        21   on the request regarding disclosure of informatio
                                                               n regarding

        u    the unindicted co-conspirators?

        23               THE COURT:      Ten days.   All right.

        24               MR. GURULE:      Thank you, Your Honor.

        25               THE COURT:      Now we have a motion by
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                                                                            zs

         1   Felix-Gutierrez for disclosure of independent source and

         2   a request for evidentiary hearing.      No other defendant

         3   has joined in this motion.     The Court has read and considere

         4   this motion and the opposition to it, and it is the Court's

         5   tentative ruling to deny the request for an evidentiary

         6   hearing except as to the statement that Felix was in

         7   Arizona for a meeting, unless the Government is unable

         8   to authenticate and lay a foundation for admission of the

         9   supporting documentation.    In other words, the documenta-

        10   tion which the Government has submitted suggests that they

        11   had this information prior to any discussions with

        12   Mr. Gutierrez.    They have submitted reports and so forth,

        13   and this circuit permits the Court to consider this matter

        14   on the basis of evidence submitted in the form of affidavits.

        15   Whether or not these reports and other documents, which

        16   have not been authenticated and for which no foundation

        17   has been laid, are adequate is the question I have in mind.

        18   The Government should either make such a showing or prepare

        19   for an evidentiary hearing on these matters.

        20                 But the Government has submitted evidence which

        21   shows that it had prior independent knowledge of facts

        22   contained and statements made by the Defendant Felix,

        23   except with respect to statements concerning a meeting

        24   in Arizona.

        25                 Subject to the Court's comments that these are
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         1   not in the form of competent evidence at the present time,

         2   they may be placed in that form; then it would support

         3   the Court's finding that there have been independent

         4   sources for this information.

         5                  You see, the cases that are permitted in the

         6   Ninth Circuit for the Government to meet its burden of

         7   proof as to the existence of independent prior sources

         S   talk of affidavits, which would be sworn testimony, which

         9   we do not have here.        We have a sworn testimony by an

        10   agent, who says that this is what these reports contain,

        11   but I am not sure that is sufficient.

        12                  MR. GURULE:    I am a little unclear as to the

        13   Arizona issue, Your Honor.

        14                  THE COURT:    Well, the Arizona issue is this.

        15   An evidentiary hearing would have to be held to determine

        16   whether Felix made any statements about a meeting in Arizona
                                                                          ,
        17   which seems to be in dispute.       That is No. 1.
        18                  Secondly, whether this information was useful

        19   to the Government's investigation leading to the indictment

        20   in this case; and, finally, if the information was helpful
                                                                        ,
        21   whether the Government has an independent source for that

        u    information.

        23               MR. GURULE:       Your Honor, the Government has

        24   submitted -- and this is for my clarification.       I want
        25   to make sure I am clear as to the Court's concern.       The
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                                                                             30

         1   Government has submitted a declaration by Special Agent

             Doug Kuehl.    Special Agent Kuehl was present at the
         2
             interview.    So relative to Special Agent Kuehl's declara-
         3

         4   tion, that is not hearsay as to what he heard and what

             he understood.
         5

         6                 THE COURT:    Yes.

         7                 MR. GURULE:    And he stated in his declaration

             that he vaguely recalls a very general reference to an
         8
             Arizona meeting, and as to that Arizona meeting there was
         9
             no information or specific information as to where in
        10
             Arizona, when in Arizona, what date, who was present at
        11
             the meeting, or what actually transpired at the meeting.
        12
             And then Special Agent Kuehl in his declaration went on
        13

        14   to say that that particular information proved to be of

        15   absolutely no value to the investigation because of its

        16   vague and general nature.

        17                 Now, if the Court is requesting something in

        18   addition to that --

        19                 THE COURT:    Not on that. I have said that

        20   there should be an evidentiary hearing on that issue

        21   because, first, there is a dispute as to whether or not

        22   there were any statements made.     The defendant claims
             through the document he filed that this is how the
        23

        24   Government ties him in with other defendants, mainly

        25   Ines Calderon.
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         1                  MR. GURULE:    But in fact, Your Honor, there

         2   is also the declaration or the DEA-6 report involving the

         3   interview of a Billy Molina, and that exhibit basically

         4   states -- that is an independent source from which the

         5   Government learned of Jesus Felix' involvement in a

         6   narcotics organization with Ines Calderon-Quintero.         So

         7   we have provided the Court an independent source for that

         8   information.

         9                 MR. RANDOLPH:     That is not a proper affidavit,

        10   Your Honor.    That is a statement of someone else who claims

        11   they took a statement from a third party.

        12                 THE COURT:     You didn't raise that point in

        13 ~ your --

        14                 MR. RANDOLPH:     I am sorry?

        15                 THE COURT:     You didn't raise that point.

        16                 MR. RANDOLPH:     I think, Your Honor, it is in

        17   our reply.    We sought to strike all of the incompetent

        18   evidence and certain portions of the declarations of

        19   Mr. Kuehl and others.

        20                 THE COURT:     In any event, I deny the motion

        21   except -- for an evidentiary hearing and find that the

        22   Government can establish, if they do so by proper affidavit;

        23   and if they do not, then the question is open that there

        24   were independent sources for all the information except

        25   the Arizona meeting, and the Court would hold a hearing
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              1   on that -- not at this time -- but sometime in the future

              2   if the parties wish to pursue it.        It   does not appear

              3   to be of much moment.      But if the parties wish to pursue

              4   it, the Court will hold an evidentiary hearing.

              5                 MR. RANDOLPH:    Would that be a hearing scheduled

             6    as soon as possible, Your Honor?

              7                 THE COURT:    Well, it will be scheduled when

              8   the Court determines it is appropriate to schedule it.

3             9                 MR. RANDOLPH:    Then I would like to direct

             10   my comments, Your Honor, to the other aspects of Your

             11   Honor's ruling with the exception of that particular point.

             11                 The Government has argued in its briefs that

             13   where documents are submitted to the Court and they demon-

             14   strate a prior knowledge that a Kastigar hearing is not

             15   required.    That may be the law in the Eleventh Circuit

             16   and the Third Circuit, but it is not the law in the Ninth

             17   Circuit, and they are simply -- they have simply misled

             18   the Court in that regard.

             19                MR. G~RULE:    Excuse me, Your Honor.    Is

             20   Mr. Randolph just intending to rehash the arguments included

             21   in his papers, or is there something in addition?       I have

             22   that concern.

             23                MR. R.ANDOLPH:   Your Honor, --

             24                THE COURT:    I am glad you are looking out for

             25   the Court.   I am capable of doing that myself.
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         1                 The Ninth Circuit permits the Government to

             meet its burden of proof as to the existence of indepe
         2                                                          ndent,
             prior sources through affidavits.     The name of the case
         3

         4   is Crowson, 828 Fed.2nd, at 1429.

         5                 MR. RANDOLPH:   I have the Crowson case before

         6   me, Your Honor.    In that case the only mention -- the

         7   Crowson case was cited to the Rogers case in that
                                                               one
             paragraph that is taken out of Crowson and the Court
         8                                                        has

         9   just cited.

        10                 THE COURT:   Well, what is the point of all

             this?
        11
                           MR. RANDOLPH:   The point is, Your Honor, --
        12

        13                 THE COURT:   These reports indicate, unless you

        14   are contending they were fabricated, that this information

             was known and reported through official channels long
        15

        16   before the conversation with Mr. Gutierrez.

        17                 MR. RANDOLPH:   I have two points to make,

        18   Your Honor.    First, with respect to the Crowson dicta that

        19   you have just cited, in Crowson itself, a Ninth Circui
                                                                    t

        20   case in 1987, defense counsel was allowed to examine --

        21 I~ cross-examine both the affiants who presented information

        u    in the Crowson case.    They had a hearing with examination,
             and the defendant had an opportunity to respond.
        23                                                         They had

        24 a hearing.      So the statement that has been -- that the

        25 Government focused on in the Crowson case was simply referrin
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                                                                                 34

`t            1   to that they can present affidavits, but not that affidavits

              2   are sufficient to complete the entitlement to the hearing.

              3                Crowson itself had an independent hearing.

              4   They had an opportunity .to challenge the affiants, and

              S   that is what we are asking for here.      Crowson cites back

              6   to Rogers, and Rogers was a case involving bankruptcy

              7   immunity, which is not the type of immunity that is

              8   before the Court today.

              9                So Zielezinski, which is the Ninth Circuit

             10   case upon which they all rely, states unequivocally that

             it   only a hearing can establish that the command of the

                  Fifth Amendment has been satisfied.
             12

             13                Your Honor, the Government has misled the

             ~a   Court when it stated in its papers that a hearing could

             15   be satisfied by the submission of affidavits.       It is

             16   simply not the law in the Ninth Circuit.      The only thing

             17   that can be --

             18                THE COURT:   Do you- have any other law that

             19   stands for what you just said?

             20                MR. RANDOLPH:    Well, Crowson and Zielezinski

                  are the Ninth Circuit cases which stand for that proposition,
             21

             22   Your Honor, and that is irhat they both say, and neither

             29   of them say affidavits in and of themselves are sufficient

             24   to satisfy the requirement.     The Government says that.

             25   The Third Circuit and the Eleventh Circuit appear to say


t
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                                                                              35

         1   that.     The Ninth Circuit says otherwise.

         2                 THE COURT:   All right.   That is sufficient.
         3                 MR. RANDOLPH:   I will submit on that, Your
         4   Honor.

         5                 THE COURT:   All right.
         6                 MR. RANDOLPH:   With respect to whether there
         7   are other factual issues which the Court should direct its

         8   attention to, let me take them briefly.       There were three
         9   points.    The Government said that my client's admission

        10   that he had an association with Ms. Calderon, they need

        11   not present any independent evidence of that because it

        12   is simply false, and that he knew that Caro-Quintero

        13   distributed marijuana.

        14                 They claim that his statement is- self-serving

        15   and is of no value to them.     But the Government has a
        16   1952(b) count before this Court, and it is incumbent on

        17   the Government to present evidence that Mr. Felix was a

        18   member of Ms. Calderon's criminal enterprise, and his

        19   statement would be supportive of that particular informa-

        ZO   tion.

        21                 So they must prove by independent source, again

        22   competent evidence, Your Honor, evidence which this Court

        23   can consider that an independent source existed.

        24                 The meeting in Arizona, the Court has agreed

        25   with the defendant in that regard.      I will skip that one.
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                                                                            36

         1                 The Government again says with respect to my

         2   client's statement that he did learn of the Camarena

         3   torture and kidnapping, the Government says that the

         4   defendant learned this in other ways, and his statement

         5   is self-serving and false.

         6                 That is not what Zielezinski requires them

         7   to answer.    What that Court requires them to answer is

         8   that they had that information, which will be an elemen
                                                                     t
         9   of the case they must prove, that they had that by an

        10   independent source.     They did not present any evidence

        11   whatsoever of that independent source to this Court.

        12                 Finally, we have the meeting, Your Honor,

        13   in Costa Rica with Celman Barrenechea.      That one they
        14   did submit.    That is the only one the defense will concede

        15   they submitted an independent source on.

        16                 Again they had two in camera submissions

        17   regarding my client's statements about Werner Lotz.

        18   The defense believes in good faith that Werner Lotz will

        19   be a witness against the defendant in this case, that
                                                                   he
        20   is one of the confidential informants that the Govern
                                                                   ment
        21   is hoping to present.    The Government has presented in

        u    camera submissions regarding Werner Lotz.

        23                 Under the case law that governs in the Ninth

        24   Circuit, in camera submissions which are grand jury

        25   transcripts, may be presented to the Court for its
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                                                                             37


         ~   consideration.    In fact, all of the cases cited in camera
         2   submissions were only Grand Jury transcripts.

         3                 Your Honor, if they submitted anything else

         4   other than in camera transcripts, then the defen
                                                              se should
         5   be able to respond to those.

         6                 What we have here, Your Honor, and the importance

         ~   of the hearing is highlighted in the Crowson
                                                          case, and it
         8   is something that is not in any of the briefs,
                                                            and I would
         9   like to finish with that particular point right
                                                             now.       In
        10   Crowson the issue before the Ninth Circuit was
                                                            an unusual
        11   one.    You had a situation where the same prosecutor
                                                                   and
        12   agents who received and presented the immune
                                                          testimony
        13   then turned around and indicted the defen
                                                       dant in that case,
        14   and the first thing that the Ninth Circuit noted
                                                              in Crowson
        15   was what that was not in compliance with the
                                                          United States
        16   Attorney's Manual, which recommends that prose
                                                            cutions be
        17   handled by an attorney unfamiliar with the subst
                                                              ance of
        18   the compelled testimony, or in that case the
                                                          immune testi-
        19   mony.

        20                The Ninth Circuit felt strong enough, even
        21   though it was dicta, that say that the Unite State
                                                         d      s
        ~    Attorney should be wary not to jeopardize reaso
                                                             nable and
        23 well-supported prosecution efforts and
                                                  promote appeals,
        24 such as in Crowson, by faili
                                        ng to observe the manual's
        25 recommendations.
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          1                 The point of this is that although the Ninth

         2    Circuit wouldn't go so far as to say there is a per se

         3    rule that the person that received the immune testimony

         4    couldn't turn around and prosecute it, they thought that

         S    a high standard should be applied.     Crowson found not

         6    only that they couldn't use the testimony for eviden
                                                                   tiary

         7    purposes but they should also look out for non-evidentiar
                                                                        y
              use, and that brings us to the timing of when the Govern
         8                                                             ment

         9    received the information from independent sources, which
                                                                       we
              don't have yet, about each of these items that Jesus Felix
        10
              has raised.    If the Government received that information
         11
              at any time after February of '87, before February '87,
        12
              and, if so, what was the substance.     The defense believes
        13
              that the Government has been in communication with
        14
              Werner Lotz both before and after February 1987.
        15

        16                  One of the questions that the hearing would

        17    clear up once and for all, Your Honor, is whether

        18    Werner Lotz was confronted with a statement as follows:

        19                  Mr. Lotz:   Mr. Felix has stated to the

        20    Government that he was indeed in Costa Rica with you in

        21    March of 1985.    Are you now prepared to make a statement

        u     regarding what information you have about Costa Rica in

        23    March of 1985?

        24                  If, for example, Your Honor, Mr. Lotz says,

        25    after being confronted with that kind of an immunized
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                                                                               39

         1   testimony, will --

         2                  THE COURT:   Counsel, I cannot permit this

         3   argument.     You are going on and on, and you are going

         4   to deprive all of these other attorneys of an opportunity

         S   to be heard.     Make your points succinctly and stop.

         6                  MR. RANDOLPH:   I am trying to give the Court

         7   an example.

         8                 THE COURT:    You are not helping.    This is not

         9   very helpful.
                                                                                    I
        10                 MR. RANDOLPH:    Well, I guess, then, the bottom

        11   line is, Your Honor, that the Ninth Circuit calls for an

        12   evidentiary hearing with competent evidence.        The affidavits,

        13   as the Court has noted, are incompetent, and I would ask

        14   the Court to set a hearing and have them produce with

        15   testimony and with competent evidence and with persons

        16   whom I can subpoena to that hearing and then have a
                                                                 hearing
        17   as to whether there is an independent source.

        18                 They have got the burden, Your Honor, and they

        19   haven't met the burden.

        20                 THE COURT:    All right, counsel.    Stop.
        21                 MR. RANDOLPH:    I will Stop.

        u                  THE COURT:    The Government is ordered to file

        23   proper affidavits and serve them on the defendant.
                                                                        The
        24   defendant is then to file, if he desires to have an evident
                                                                         ia
        2S   hearing, a request with the Court to set an evidentiary
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                                                                            40

         1   hearing.   Any request that you make of this Court, whether

         2   it be for evidentiary hearing or for the right to cross-

         3   examine these affiants, has got to be supported by authority

         4   that binds this Court.    So I expect you to do that.

         S                MR. RANDOLPH:   I will, Your Honor.

         6                THE COURT:   After I have received that, then

         7   I will determine what to do with it, whether or not to

             hold a hearing or what the scope of it will be.
         8

         9                MR. RANDOLPH:   Thank you very much, Your Honor.

        10                Your Honor, may I address the Court.      I brought
             to the clerk's attention before this morning that I had
        11
             moved -- oh, I am just advised that that has been handled.
        12
             Thank you very much.
        13

        14                THE COURT:   The Defendant Gutierrez has also

             filed a Motion for Clarification of Discovery Order, which
        15

        16   the Court has read and considered, and it is the Court's

             tentative conclusion that both of the requests made by
        17

        18   the defendant here should be denied.     At the prior hearing
             the Court granted the Government's request for a protective
        19
             order and denied the defendant's request for disclosure of
        20
             the witness list because of danger to the witnesses and
        21
             defendant's failure to make a sufficient showing of the
        u
             need for disclosure.
        2~

        24               The order will not be limited as the defendant

        2S   now requests so that the Government must disclose the witness
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                                                                                41

         1   list to defense counsel.       My ruling applied to defense
         2   counsel.   This issue has been dealt with previously.        You
         3   come back in here now asking for disclosure of the
                                                                witness
         4   list to defense counsel.       What did you think I was ruling

         S   on the last time?

         6                  MR. RANDOLPH:    Your Honor, I think the Court
         7   has misunderstood what we have asked for.       We are not
         8   asking for the witness list.      In fact, we are not asking
         9   for witnesses at all.       We are asking for the names of

        10   those persons who the Government does not intend
                                                              to call.
        11                  THE COURT:   I know what you are asking for,

        12   counsel.

        13                  MR. RANDOLPH:   I am sorry.   I thought the Court
        14   was asking me a question.

        15                  THE COURT:   As for your request that the
        16   Government prove that all claimed informants are truly

        17   informants, there is no authority for such a reque
                                                                st to
        18   place upon the Government the burden of proving that
                                                                  they
        19   are abiding by the Court's order.      In fact, the defendant's
        20   request is contrary to the method established by
                                                              the
        21   Supreme Court in the Roviaro case.      It is the defendant,
             not the Government, that bears the burden of showi
                                                                ng that
        23   disclosure of a confidential informant would be relevant

        24   and helpful.    To require the Government to prove in an
        25   in camera hearing before opposing counsel that an indiv
                                                                     idual
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         1   is a confidential informant would have the effect of reveal-

         2   ing the informant's identity to opposing counsel, which

         3   is the issue we dealt with the last time.       When I said

         4   they did not have to disclose the identity, I meant to

         5   opposing counsel or anyone else.      Moreover, there is no

         6   evidence that the Government has violated this Court's

         7   order.   It has provided the defendants with a list of

         8   non-confidential, percipient witnesses that will not

         9   testify at the trial, and the fact that the defendant's

        10   counsel has a hunch that the Government is violating a

        11   court order is not sufficient grounds for ordering such

        12   a hearing.   So it is my intention to deny both of these

        13   requests contained in this motion for clarification.

        14                MR. RANDOLPH:    This will be brief, Your Honor.

        1S   Our request is made on more than just a hunch.       This

        16   indictment spans the years 1983 through 1985, maybe more.

        17   It covers Mexico, Colombia, Costa Rica, the Central District

        18   of California, and elsewhere, wherever that is.       The events

        19   involved the distribution of multi-ton quantities of

        20   marijuana and cocaine and torture and murder and escape

        21   from a foreign country.

                          The point is that since 1985, Your Honor, the

        29   defense believes in good faith that the Government has              I~

        24   interviewed and has come up with hundreds -- hundreds --

        25   if not thousands, of percipient witnesses to any of these
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         1   events that are contained in the indictment.       We can do

         2   this by simple arithmetic.

         3                THE COURT:   You said, "brief."     You -are .already
         4   launching into a big episode, counsel.

         5                MR. RANDOLPH:    I will be no longer than 30

         6   seconds,~Your Honor.

         7                THE COURT:   I am going to terminate your

         8   argument.

         9                MR. RANDOLPH:   May I have 30 seconds, Your

        10   Honor?

        11                THE COURT:   No, you may not.    The motion is

        12   denied.

        13                MR. RANDOLPH:   Your Honor, if I could have

        14   just less than a minute, I can finish what I have to
                                                                  say,

        15   and the Court would be satisfied.

        16                THE COURT:   Well, I assume you said what you

        17   had to say in your papers.    I read those very carefully.

        16               MR. RANDOLPH:    Your Honor, I asked Mr. Gurule

        19   to provide a number, whether it be a thousand
                                                           --

        20               THE COURT:    Counsel, I have said that the

        21   argument is over.   We are moving to the next motion, which

        22   is Felix' Motion to Sever.

        23               The Court has read and considered the Defendant

        24   Felix-Gutierrez' Motion to Sever and the opposition
                                                                 to it,
        25   and the Court is of the tentative conclusion that this
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                                                                            44

         1   motion should be denied.    Joinder of defendants is appro-

         2   priate under Rule B(B) because the indictment alleges

         3 ~ that defendants participated in the same series of acts

         4   or transactions.    In this circuit the term "transactions"

         5   is given a flexible interpretation, and Rule 8 is construed

         6   broadly in favor of initial joinder.      Whether or not

         7   multiple offenses joined in an indictment constitute a

         8   series of acts or transactions turns on the degree to which

         9   they are related.    Defendant's argument that accessory-after-

        10   the-fact offenses must be deemed separate and distinct from

        11   the substantive offenses is not well taken in the context

        12   of Rule 8(B).   The question is whether there is a relation

        13   between the offenses, not whether criminal acts are separate

        14   and distinct for purposes of double jeopardy.      In this

        15   case the Defendant Felix is alleged to have been an accessory

        16   after the fact in furtherance of an enterprise of which he

        1?   is alleged to be a participant.     Moreover, there is a

        18   substantial overlap of evidence since a separate trial

        19   on the accessory count must include proof of these substantiv

        20   counts.   There is more than a sufficient nexus for joinder

        21   under Rule 8(B).

        22                The defendant cannot show prejudice as a result

        29   of joinder of the substantial overlap of evidence which

        24   would occur if he was tried separately.      Defendant's offer

        25   to provide detailed stipulations on overlapping factual
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         1 , disputes does not convince the Court that severance should

         2 ', be granted.    We are on the eve of trial, and there have

         3   not been any discussions with Government as to such stipu-

         4   lations, and nothing of substance has been submitted to

         S   the Court.

         6                  Finally, the defendant's request for severance

         7   based on Bruton is frivolous.      The defendant's counsel is

         8   directed to Richardson vs. Marsh, which is a United States

         9   Supreme Court case, 1987, for a discussion of the limited

        10   scope of the Bruton doctrine.

        11                  That is the Court's view of this severance

        12   motion, which I will deny.

        13                  Do you wish to be heard?

        14                  MR. TARLOW:   Yes, Your Honor, briefly if I may.

        15                  Your Honor, I'd like to first comment -- I want

        16   to pass the 8(B) problem and comment on one matter that

        17   the Court did not cover in its tentative ruling, and then

        18   on the Bruton problem.

        19                  Your Honor, I have read Richardson vs. Marsh,

        20   as well as the Court, I am sure, has considered Cruz vs.

        Z1   New York, which was decided at the very same time.

        u                   In Richardson the difficulty with the proposition

        23   that is being advanced to the Court is that the Government

        24   has not offered you any case which stands for the proposition

        2S   that where you have a strenuously disputed issue in a crimina
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,,
              1   case, and that issue is established by the co-defendant's

              2   statement, that is not Bruton.     There is nothing in

              3   Richardson, Your Honor, which says that at all.       We are

              4   not talking here about a bank robbery case, for example,

              5   where everyone admits that the bank was robbed.       We are

              6   talking here about the circumstances and reasons why and

              7   who killed Mr. Camarena and how and why it was done.

              8                The Court has tried enough cases certainly to

              9   realize that it would be impossible for this jury with

             10   whatever instructions you give -- and that is the holding

             11   in Cruz vs. New York, that those instructions didn't work

             12   in 1987 i.n the Supreme Court.    How can this Court tell the

             13   jury as to Mr. Lopez-Alvarez -- consider what he said;

             14   consider how he said Mr. Camarena died; consider what he

             15   said about why he died, and use that to decide if he is

             16   guilty in the underlying facts of the offense.

             17               Now come to Mr. Felix-Gutierrez, and you decide

             18   those very same questions, but absolutely disregard what

             19   you have used for the other defendant.

             20               There is no case that I have seen, and there

             21   is nothing in Richardson vs. Marsh, which says that

             Z2   Bruton only applies to the name of the defendant.       That

             23   is all that matters.   I would suggest to the Court that

             24   this is a very real problem and something that needs to

             25   be dealt with.
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             1               The second point that I would like to touch

             2   on, Your Honor, has to do with prejudice from the joinder

             3   itself in joining an accessory after the fact.      There is
4            4   a case recited before the Court, Sampol, and I don't want

             S   to belabor any of the points that were in the pleading,

             6   but if there is a case which could be as close to this

             7   case, of what we have in this case, other than the name

             8   is not Felix, I think the Sampol case is it.      In Sampol,

             9   as Your Honor probably knows, there was an ambassador who

            10 ,I was blown up by some organization.    The Court, first of

            11   all, was extremely concerned about Mr. Sampol, who was

            12   charged with an accessory-after-the-fact type of crime --

            13   misprision, I believe -- but the same type of offense,

            14   and yet he is named in the count as a member of the

            15   organization responsible for the bombing of the ambassador

            16   and yet he is not charged with that offense.      It is the

            17   very same thing we have in this case.

            18               The Court in the case, and I don't want to

            19   go through the case, talks about in substance that the

            20   horrendous kind of evidence that is going to be admitted

            21   before the jury, which is in some sense irrelevant to

            22   Mr. Sanpol's liability other than the fact that there

            2~   was a murder and Mr. Camarena was killed, that evidence

            24   establishes elements as to Mr. Felix, but as to his guilt,

            25   his guilt can only be predicated upon whether he helped
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         1   Mr. Camarena, and the prejudicial kind of
                                                       evidence, Your

         2   Honor, regarding torture, regarding murde
                                                       r, is something

         3   which in essence has little to do with his guilt
                                                              .

         4                How Mr. Camarena died, why he died, the details

         5   of all of it are something which, although dispu
                                                              ted, we

         6   would be willing to do away with to avoid this
                                                            kind of

         7   prejudice.

         8                The Sampol case, Your Honor, talks about the

         9   disparity in the evidence, that is, that all of
                                                             the prior

        10   evidence in Sampol, all the evidence about the
                                                            bombing,

        11   had nothing to do with Mr. Sampol.

        12                Likewise in this case.     All of the evidence

        13   about the murder has nothing to do with Mr. Felix
                                                               as far

        14   as him being a participant.

        15                Sampol talks about the situation in that case

        16   being a classic example of Rule 14 prejudice
                                                          and using the

        17   words "spillover prejudice" or "prejudice of
                                                          guilt by

        18   association."   The Court talks about it being almost an

        19   understatement, and I think we have that same
                                                           situation

        20   in this case.

        21                I would submit it based on that, Your Honor
                                                                     .

        2Z   Thank you.

        23                THE COURT:    All right.

        2q                Do you wish to respond briefly?

        2S                MR. GURULE:   I would just add that Mr. Tarlow
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         1   said there was nothing in Richardson that would support

         7   the Government's proposition.       I think the Richardson case

         3   is dispositive of this case.       Without going into much

         4   detail, I would remind the Court that that was also a

         5   murder case.    It was also a felony murder case and robbery

         6   case.   The Court held there that the statement by Williams,

         7   who didn't testify, not incriminating directly any of the

         8   other defendants was admissible and that severance wasn't

         9   justified just because it was an admission by a co-

        10   conspirator who did not testify at trial.       I think that

        11   case is exactly dispositive.

        12                 THE COURT:    You know, if you read these cases,

        13   the rule is that joinder is a preferable way to go in the

        14   interests of judicial economy, and it should be the rare

        15   e xceptional case where a defendant is severed from other

        16   defendants, and this in my view is not such a case.

        17                 MR. TARLOW:    May I respond to that one point,

        18   Your Honor, just briefly?

        19                 THE COURT:    No.   The motion is denied.

        20                 We have another motion here by Defendant

        21   Felix-Gutierrez to disclose all prior and future ex parte

        u    documents filed by the Government and a joinder in it

        23   by Verdugo.

        24                 First let me say that I don't encourage the

        2S   filing of ex parte documents.      I prefer not to.   Anything
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         1   that is filed with the Court that affects this case or

         2   any defendant, or might, should be done on noticed motion.

         3   There are instances provided by law for ex parte filings

         4   dealing with administrative matters and others that must

         5   be kept confidential that are permitted.       The Ninth Circuit

         6   has expressly authorized in camera review for the purpose

         7   of ruling on a motion for disclosure of a confidential

         8   informant's identity, for example.      No other documents

         9   filed ex part even remotely affect defendant's interest.

        10   These are administrative filings which must be kept

        11   confidential, but do not contain any information concerning

        12   any of the defendants or having anything to do with the

        13   merits of the case.

        14                Therefore, the Court will deal with this matter

        IS   in this way:   Before the Government files any ex parte

        16   motion with this Court, it should first present to the

        17   Court an affidavit describing in general terms what the

        18   filing is that it intends to make and why it is necessary

        19   and wait for permission from the Court to do so before

        20   filing anything ex parte.

        21                MR, TARLOW:    Your Honor, do we have the oppor-

        22   tunity to respond to what the Government submits?       Assuming

        23   we feel the reasons are inappropriate, do we have time to

        24   file a response with the Court saying why we don't think

        25   that submission    should be given?
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         1                  THE COURT:    Well, my intention is to have them

         2   file with the Court an affidavit setting forth their

         3   reasons for what they intend to do, not to serve
                                                              it on
         4   counsel.     The Court will determine whether or not it is

         5   appropriate.     If it isn't, I will not permit it to be

         6   filed.     If it requires notice, I will direct them to

         7   give notice.

         S                  MR. TARLOW:    You are saying that the affidavit
         9   itself will be under seal?

        10                 THE COURT:     Yes.

        11                 MR. TARLOW:     I am sorry.   I misunderstood.

        12                 MR. GURULE:     Your Honor, does that pertain

        13   to defense counsel in terms of any in camera filin
                                                                gs by
        14   defense counsel?    Does the same procedure apply for defense

        15   counsel?

        16                 THE COURT:     Well, I suppose it should, but
        17   the defense counsel do not usually file ex parte reque
                                                                    sts
        18   with the Court.

        19                 MR. GURULE:     But there have been, I think, at

        20   least three in camera filings by Mr. Pancer to
                                                            date that
        21   the Government is obviously unaware of.       So there is a
        22   track record of defendant's filing in camera docum
                                                                ents
        23   with the Court.

        24                 THE COURT:     Well, that motion is not before

        25   me.   What is before me is the defendant's motion requiring
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         i   ycu to give notice, and that is the way I have dealt with

         2   it.

         3                Now, the Defendant Verdugo has filed a motion

         4   to dismiss for violation of the extradition treaty in the

         5   Caro-Quintero case.    One of the bases of this is still

         6   the subject of another motion to be ruled on but based

         7   upon the motion that has been filed with the Court to

         8   dismiss the first superseding indictment for violation

         9   of the extradition treaty, the due process issue is still

        10   in question in another motion to be heard at the next

        it   session of the motions.

        12                Now, on the merits of this motion, the Court

        13   intends to deny it for these reasons:      First, the Government'

        14   attempt to invoke collateral estoppel is unpersuasive.

        15   There can be no collateral estoppel in the absence of a

        16   final judgment.   Since the Government has presented no

        17   evidence of a final judgment in United States vs. Verdug
                                                                      o,
        18   the defendant's motion must be decided on its merits.

        19                The defendant, on the basis of the showing that

        20   is made here, cannot show a violation of due process,
                                                                   althoug
        21   I understand that that question is still the subjec
                                                                 t of
             another motion based on additional facts.

        23               MR. PANCER:    Your Honor, I have a very important

        24   document that relates to this motion that was just delive
                                                                       red
        25   to me by the Assistant United States Attorney on Friday
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         1   in San Diego.   I presented a copy to counsel.       I think

         2   the Court should have it.

         3                THE COURT:    What is it?

         4                MR. PANCER:    Your Honor, it is a letter from

         S   the U. S. Attorney in San Diego that says that he has

         6   been -- in summation that he has been authorized to inform

         7   myself and Judge Irving that a communication was received

         S   from the Mexican Government.      It is a protest, a formal

         9   protest, by the Government of Mexico, that relates to the

        10   manner in which Mr. Verdugo was taken into custody in

        11   Mexico, actually kidnapped in Mexico.

        12                THE COURT:    When was that received?

        13                MR. PANCER:    Could I present the letter I have

        14   from the assistant to the clerk?

        15                THE COURT:    Yes.   Hand it to the clerk.

        16                MR. GURULE:    The record should reflect that

        17   I just received that literally a minute ago and I have

        18   not had an opportunity to review it.

        19                MR. PANCER:    Your Honor, while I am up here,

        20   may I borrow one of these chairs?

        21                THE COURT:    Yes.

        22                MR. PANCER:   Your Honor, as to when notice

        23   was given to the Government, I was informed by Mr. Reese,

        24   who gave me that letter, that he spoke to Mr. Gurule

        25   concerning this matter.
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         1                THE COURT:     Well, what is the significance

         2   of this in your view?

         3       '        MR. PANCER:     Well, Your Honor, the Government

         4   responded to our motion concerning the violation of extra-

         5   dition treaty, and I have their response in front of me.

         6   On page 4 of their response they say, "Absent an objection

         7   or protest by Mexico, Defendant Verdugo has no standing

         8   to raise a violation of international law."

         9                What I have just given Your Honor is proof

        10   that there has been a protest by the Government.

        11                THE COURT:     All right.   Having been a protest,

        12   what does that mean?      What do you think the Court should

        13   do because of this protest?

        14                MR. PANCER:    I think the Court should do just

        15   what the Government states on page 5 of their response,

        16   that in effect if there is a protest by the Government,

        17   then the defendant has a right to raise an objection based

        18   on a violation of international law.      That is what they

        19   say at page 5 of their brief, page 6 of their brief, page

        20   7 of their brief.

        21                THE COURT:    Are you saying that based on the

        u    violation of an extradition treaty that the defendant is

        23   entitled to a dismissal of the indictment?

        24               MR. PANCER:     Your Honor, what we are arguing

        25   in this motion is that, based upon a violation of the
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                                                                             55

         1   extradition treaty, the defendant can only be brought to

         2   trial on charges that existed at the time he was brought

         3   into the United States.      All of the cases say that if

         4   there is an extradition treaty, you can only be prosecuted

         5   on those charges which existed at the time you are extra-

         6   dited.

         7                 We are saying, Your Honor, now that the

         8   Government of Mexico has filed a protest, that we are

         9   entitled to the protection of the extradition treaty.

        10   The Government essentially holds forth the same position

        11   in their brief when they are looking at the cases that

        12   they cite in their brief.

        13                 THE COURT:    All right.   Here is what we will

        14   do with this.    The matter should be rebriefed in light

        15   of this information on the question of what effect this

        16   should have on the motion to dismiss which is pending

        17   before the Court.

        18                 MR. GURULE:    May I just comment on that briefly,

        19   Your Honor.    There are two issues that the Government

        20   addressed in its opposition.      The first is standing.    This

        21   letter goes to the standing issue.

        Z2                 THE COURT:    All right.

        23                 MR. GURULE:   But even if there is standing,

        24   that doesn't mean there has been a violation of the

        25   extradition treaty.
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         1                The second argument that the Government makes

         2   in its opposition is that where the extradition treaty

         3   has not been invoked, i.e., it has not been an extradition

         4   request for the defendant, the extradition treaty does

         5   not apply, and there has been no violation of the extra-

         6   dition treaty.

         7                In support of that proposition, the Government

         8   cited numerous Ninth Circuit cases.      The Government has

         9   cited United States vs. Valot, 625 Fed.2nd 308, Ninth

        10   Circuit, 1980.   The Government has further cited Stevenson

        11   vs. United States, 381 Fed.2nd 142, Ninth Circuit, 1967.

        12   The Ninth Circuit in both of those cases has expressly

        13   stated, and if I may quote from the Valot case:

        14                     "This Court has held that where

        15                no demand for extradition was made by

        16                the United States" --

        17   There was not in this case; there was no demand.

        18                "-- and defendant is deported by the

        19                authorities of the other country which

        20                is a party to the treaty, no extra-

        21                dition has occurred and failure to

        22                comply with the extradition treaty

        23                does not bar the prosecution."

        24                The Ninth Circuit again cites the Stevenson

        25   case and further cites another Ninth Circuit case, United
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             1   States vs. Lovato at 520 Fed.2nd 1270.

             2                Briefly the Stevenson case --

             3                THE COURT:    Well, the Ker case involved an

             4   extradition treaty.

             5                MR. GURULE:    That is correct.

             6                THE COURT:    That is a Supreme Court case in

             7   which Ker sought a writ of error from the Supreme Court

             8   of Illinois on the grounds that his indictment, trial,

             9   and conviction for larceny violated the United States-Peru

            10   extradition treaty.    He complained that he had been

            11   forcibly removed from Peru by an agent of the United States

            12   Government in violation of the extradition treaty.       The

            13   Supreme Court rejected the proposition that the extradition

            14   treaty had given Ker a right not to be forcibly removed

            15   from Peru.   The Court explained that the treaty contained

            16   no language which said that a party fleeing from the United

            17   States to escape punishment is entitled to asylum.       As a

            18   result the Court held that the terms of the extradition

            19   treaty had not been violated and the defendant could be

            20   tried.

            21                MR. GURULE:    That is exactly correct, Your

            22   Honor.   The Ninth Circuit has likewise cited the Ker case

            23   in numerous of these cases.

            24                THE COURT:    The Ninth Circuit follows both

            2S   Ker and Frisbie, unless the Government engages in conduct


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         1   shocking to the conscience.

         2                MR. PANCER:    I agree, Your Honor.    I think
         3   it has to be rebriefed because I don't think in any of

         4   those other cases there was a protest filed by the
                                                                offended
         5   government, and I think it should be rebriefed.       We will
         6   touch on it at the next motion hearing, and there are

         7   other motions relating to it.     I would ask that this be

         8   put off until then.

         9                THE COURT:    What is the date of the next

        10   motion hearing?

        11                MR. GURULE:    June 20, Your Honor.

        12                I would just add, because I don't believe

        13   there is anything to be rebriefed, that even if there

        14   has been a formal protest, all that means is that the

        15   defendGnt has standing.     It doesn't meant that there

        16   has been a violation.

        17                THE COURT:    Well, apparently they just received
        18   this, so they should have an opportunity to see what they

        19   can find on it, and there will be no harm in the matter

        20   being continued to the next hearing date.      What is the
        21   date?

                         MR. PANCER:     June 20.

        23               THE COURT:     This motion will be continued to
        24   June the 20th for further briefing.     The moving party should
        25   file a supplemental brief by the 13th of June.      The response
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         1   should be filed by -- strike that.      The response or

         2   opposition should be filed by the 17th.

         3                MR. PANCER:    In that regard would Your Honor

         4   order that we be given a copy of the protest and the

         5   United States Government's response to request for

         6   information from the Government of Mexico just submitted

         7   to Your Honor.

         8                THE COURT:    You have a copy of the protest.

         9                MR. PANCER:   No, we don't, Your Honor.      What

        10   I gave Your Honor is a request from the Government of

        11   Mexico for information.    Apparently the U. S. Government

        12   sent something to the Government of Mexico, and then based

        13   on that the Government of Mexico filed a protest.       We only

        14   know that there was one because the letter from the

        15   Assistant U. S. Attorney in San Diego so informed us.

        16   He also informs us that he will make that public when

        17   the State Department files its response to Mexico, and

        18   since we don't know when that will be and I don't know

        19   that they move so quickly, I would like to have a copy

        20   of the protest filed by the Government of Mexico, which

        21   is a matter of public information in the sense that we

        u    are permitted to talk about it here in court and, too,

        29   a copy of whatever the United States Government sent in

        24   response to the request from the Government of Mexico

        25   that caused the Government of Mexico to file that protest.
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             1                  THE COURT:      Well, first, do you have access --

             2   do you have a copy of the protest that was filed by Mexico?

             3                  MR. GURULE:      No, I don't, Your Honor.

             4                  THE COURT:      Can you get it?

             S                  MR. GURULE:     I can certainly attempt to get

             6   it.     I would imagine that it was filed back in Washington,

             7   D. C.

             8                  THE COURT:      The United States' response?

             9                  MR. GURULE:     I don't have a copy of the response.

            10   I assume that was made by our Office of International

            11   Affairs.     I will contact them in Washington to see if

            12   they have a copy of the formal protest and our response.

            13                  THE COURT:    Provide copies to the defendants.

            14                  MS. BARRER.A:    Excuse me for in~errupting, Your

            15   Honor.    Yolanda Barrera for Raul Lopez-Alvarez.      I am

            16   scheduled to argue a case before the Court of Appeals at

            17   1:30.    I have requested priority from the Court of Appeals,

            18   and I will be the first called.        So I would request permis-

            19   sior. from this Court to be allowed to go at this time.

            20                 THE COURT:     Do you have a motion pending?

            21                 MS. BARRERA:      We do have two motions, Your

            22   Honor, and we did join in several of the others.           However,

            23   Ms. Leyva can remain.       She is also attorney of record.

            24   Mr. Lopez-Alvarez is agreeable to my leaving and Ms. Leyva

            25   remaining.


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         1                 THE COURT:     That is fine.

         2                 MR. BARRERA:    Thank you, Your Honor.

         3                 THE COURT:   Now, the Defendant Verdugo has

         4   filed a motion for pretrial hearing regarding the

         5   a uthenticity and admissibility of tape recordings
                                                                and
         6   the accuracy of the Government's proposed transcripts.

         7                 The Court has read and considered this motion

         8   as well as the opposition, and this motion is joined
                                                                  in
         9   by the Defendant Felix-Gutierrez and Lopez-Alvarez.

        10                 In this circuit authenticity and general

        11   trustworthiness are the basis of a proper foundation

        12   for the admission of recordings.      The burden is on the

        13   offering party, the Government, to make a prima facie

        14   showing of authenticity.      The Court has reviewed all

        15   the evidence submitted by the parties and has determ
                                                                  ined
        16   that, based upon this evidence, the Court has made a

        17   prima facie showing of authenticity.         However, the

        18   Court will need to review the actual tapes, and either

        19   the parties must present a transcript on which they
                                                                 can
        20   both agree, that is, a stipulated transcript, or the

        21   Government's transcript must be submitted and the

        u    defendants' differing translations, if any, must also

        23   be submitted so that the Court can understand what the

        24   dispute is.   In this way the Court would be able to

        25   determine whether the recordings taken as a whole can
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             1   be understood and appear trustworthy.      Based solely upon

             2   a review of the Government's transcript, the recordings

             3   appear to be trustworthy and coherent and, therefore,
                                                                       of
             4   probative value.

             5                The Government has met its burden as to

             6   authentication concerning place and time.      The declara-
             7   tions of DEA agents authenticate the tapes by distinctive

             8   characteristics pursuant to Rule 901(b)(4).

             9                The contents of the recordings, in conjunction

            10   with other contextual evidence offered by the Government,

            11   constitute a prima facie showing that the tapes were made

            12   at 881 Lope De Vega between February 7 and 9, 1985, and

            13   that the subject of the interrogation was Agent Camarena.

            14   This finding is supported by the voice identification

            IS   offered for purposes of authentication pursuant to Rule

            16   901(b)(5).

            17                The defendants have offered no evidence of

            18   tampering.   Defendants are not entitled to an evidentiary

            19   hearing merely because they request one and because they

            20   claim that there was an opportunity for tampering and

            21   that certain anomalies in the tape may indicate tampering.

            22   There must be some affirmative evidence of bad faith or

            23   tampering in order to justify an evidentiary hearing on

            24   the issue.   Evidence of tampering should have been filed,

            25   if there is any, with the Court upon filing of the motion
                                                                           .

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             1                Therefore, the defendants' motion for an

             2   evidentiary hearing would be denied.      However, the
5            3   Government must provide the Court with the papers, and the

             4   parties must provide transcripts of what they view as their

             5   interpretation of the tapes so that the Court can determine

             6   whether the tapes are audible, coherent, and probative.

             7                MS. BROOKS:   Your Honor, if I might respond

             8   briefly to that.   In our moving papers we state that

             9   before our expert can do any further tests or reach any

            10   definitive conclusions or opinions, there were certain

            11   items of information he needed.     We requested of the

            12   Government that information for sendinr, the tape recordings

            13   to our expert.   The Government refused to provide us with

            14   any information regarding how the tape recordings were

            15   made, regarding how the tape recordings were obtained by

            16   the Government, and so forth.     We did not have that

            17   information until the Government filed their response

            18   to our motion.   That is why we were unable to provide

            19   the Court with our motion with an affidavit from our

            20   expert because our expert was unable to go any further

            21   without the information from the Government.

            u                We would ask the opportunity, since it took

            29   this motion to get the Government to get back the infor-

            24   mation, to now be able to provide the Court with an

            25   affidavit from our expert, which, I believe, will indicate
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         1       thzre were tamperings of the tape recordings or certainly

         2       a good possibility of it, and for Your Honor to then

         3       determine whether we have rebutted what Your Honor has

         4       found to be the Government's prima facie showing of

         5       authenticity and reliability.

         6                   We would have done it beforehand had the

         7       Government simply cooperated and given us the information.

         8       Instead we had to resort to the filing of a formal motion.

         9                   THE COURT:    Well, the information is that they

        10       don't know who made the recordings or what equipment was

        I1       used or the other things that your expert said he needed

        12       to know -- the type of room it was in and that sort of

        13       thing.

        14                   Do you -now have that information?

        15                   MS. BROOKS:    Now our expert knows he is dealing

        16       with copies of recordings that we don't know --

        17 I                 THE COURT:    He has known it was a copy right

        16       along, hasn't he?

        19 I~,               MS. BROOKS:    We didn't know whether these

        20 ' were first-generation copies.        We did not know how these

        21 i~ copies were made.      We had no idea as to the recording

        u    1 process of even the copies.      We had no idea whether we

        23       would in fact have eventual access to the originals.

        Y4                   THE COURT:    Well, you know, you could have

        2S       had your expert proceed simply on the tape itself and
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                                                                            65

         1   provide some finding for the Court, and he could have

         2   withheld reservation, stated that he needed the other

         3   information to be fully sure of his opinion.       In any

         4   event, what is it you are requesting?

         5                PAS. BROOKS:    We are requesting, Your Honor,

         6   an opportunity now that the Government has responded, to

         7   file an affidavit with the Court at the same time that

         8   we file the transcripts with the Court by our expert,

         9   and the Court to reserve ruling on the reliability of

        10   the tape recording until you have had that opportunity

        it   to review the affidavit and transcript.

        12                THE COURT:     Do any of the other defendants

        13   object to this?

        14                MR. RANDOLPH:     No, Your Honor.

        15               MS. LEYVA:      No, Your Honor.

        16               MR. GURULE:     Your Honor, I would add that

        17   this is a disingenuous argument at least relative to the

        18   copies of the tapes.    Mr. Pancer requested -- first of

        19   all, Mr. Pancer has known from the beginning that the

        20   Government only had copies.     Mr. Pancer requested first-

        21   generation copies of the tapes in his formal request

        u    for the tapes.    First-generation copies were given to

        23   Mr. Pancer so that the examination could be completed.

        24   There is nothing contained in the Government's opposition

        25   that responds in any direct way relative to beyond
                                                                that
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         1   as to the room, as to the temperature, type of equipment,

         2   type of tapes, et cetera, because again, as the Government's

         3   papers show, it wasn't the Government who made the

         4   recording of the interrogation.

         S                  This is simply an attempt to come in here at

         6   the 11th hour seeking to delay the process an~~ to bring

         7   in an affidavit by their expert that they could have brought

         8   in weeks ago, if not months ago.

         9                  THE COURT:     Well, let me say that I am ruling
             on the authenticity of the tapes as far as the showing
        10
             that has been made.      In that respect that is fine as far
        11
             as the Court is concerned.
        12

        13                  With respect to the admissibility of the tape

             recordings, that of course requires some further finding,
        14

        1S   and I assume that what you wish to submit relates to that

        16   issue.

        17                  MS. BROOKS:     Yes, Your Honor.

        18                  THE COURT:     All right.   We can continue this

        19   for hearing to the 20th of June, and you will submit any

        20   additional or supplemental information according to the

        21   same schedule I have previously given you on the other

             matter.

        23                  b4S. BROOKS:   Yes, we will, Your Honor.

        24                  THE COURT:     That is by the 13th and the response

        2S   by the 17th.
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         1                    MS. BROOKS:    Thank you, Your Honor.

         2                    Your Honor, I don't want to take the Court

         3       out of order, but we might be able to expedite matters.

         4       There is a similar situation in regard to our motion for

         5       notice of Government's intention to use evidence at trial.

         6       All we were asking for there was notice of their intent

         7       to therefore have an opportunity to file motions in limine

         8       regarding the admissibility of the evidence they intended

         9       to introduce.

        10                    The Government in their response went a step

        11       farther and argued not only what they intended to intro-

        12       duce, but the admissibility of it.     We would like an

        13       opportunity to respond to that by way of a motion in limine.

        14       Specifically --

        15                    THE COURT:    Well, I am not dealing with this

        16       business raised in their response to the motion.     It is

        17       not a motion regarding the admissibility, and the Court

        18       does not rule on those, on the admissibility, at this time.

        19                    MS. BROOKS:    Thank you, Your Honor.

        20                    THE COURT:    I wanted to point that out when

        21       I got to that motion because that isn't properly
                                                                  before

        22   I   the Court.

        23                    MS. BROOKS:   Thank you very much, Your Honor.

        24                    MR. TARLOW:   Your Honor, have you just dealt

        25       with that 12(d) motion, or are you going to do it
                                                                   --
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         1                THE COURT:    Which motion is that?
         2                MR. TARLOW:    The one that Ms. Brooks was just
         3   talking about, the request for notice of what evidence
         4   they were going to put in.

         5                THE COURT:    No, I haven't dealt with it.     I
         6   haven't got to it yet.

         7                We have a motion by Verdugo to compel identity

         8   of the informants and foundational information, which is

         9   joined by Felix-Gutierrez.

        10                The Court has read and considered this motion

        11   and the opposition to it, and this is the Court's tentative

        12   ruling and reasoning.     The Court's tentative ruling is
        13   that this motion should be denied for the following reasons:

        14                When the Government makes a specific showing

        15   of the need for concealment of a witness/informant, the

        16   identity of a witness/informant, the defendant must make

        17   a specific showing of need for disclosure of the witness/

        18   informant.   Then you can balance the one against the other.
        19   The Court must determine whether the Government's intere
                                                                      st
        24   in withholding the informer's identity prior to trial

        21   outweighs the defendants' interest in preparing his case

        u    for trial.

        23                Defendant has not shown that it requires
        24   pre-trial disclosure of the informant, identified as

        2S   CI-1, prior to trial.     Defense counsel will have an
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         1   opportunity during cross-examination to determine whether

         2   or not Verdugo was present during a 1983 meeting between

         3   Felix and CI-1, and counsel will also have an opportunity

         4   to determine whether or not CI-1 can place Verdugo at any

         5   meeting concerning marijuana trafficking.       As to other
         6   informants.     No showing of specific need has been made.

         7   The effort has been addressed to this CI-1.

         8                 Finally, there does not appear to be any

         9   basis for defendant's request for foundational information.

        10   Defendants bear the burden of showing specific need for

        11   disclosure, and they cannot sidestep the Court's pro-

        12   tective order by having the Government produce information

        13   which would disclose the identity of the informants.        The
        14   Government's privilege, which has been ruled upon by the

        15   Court, under Roviaro, all communications and documentation

        16   which would tend to reveal the identity of the informant

        17   is protected.

        18                 So, as I understand it, all of the Government's

        19   informants will testify at trial.     Therefore, their identity
        20   will be disclosed and their statements will be made avail-

        21   able pursuant to the Jencks Act at the time that I previ-

        u    ously ordered that they should be.      Thus, there is no need

        23   for the Court to make the Roviaro balancing test at this

        24   time because the identities will be revealed at the time

        25   of trial.
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                                                                            Z~7


                            In a case called United States vs. Bonilla,

         2   Ninth Circuit, the Court stated that although
                                                           the defendant
         3   was entitled to learn the informant's iden
                                                        tity because
         4   the informant was a percipient witness
                                                    to the criminal
         S   transactions underlying the indictment, he
                                                        was not entitled
         6   to have the information produced in advance
                                                         of trial.
         ~                 So that is basically the Court's position on
         8   that.

         9                 MR. PANCER:    I have no additional argument,
        10   Your Honor.    I have two points I'd like to try to pin
        11   down.   One is that there are certain persons who test
                                                                    ified
        12   in prior trials that were related to Rene Verd
                                                            ugo or off-
        13   shoots of his indictment, and these witnesse
                                                          s are already
        14   in the witness protection program.      They are already known
        15   as possible witnesses in the sense that ther
                                                          e were many
        16   of them and, Your Honor, if a witness is
                                                      already known
             to be an informant, already known to be protecte
                                                              d, then
        ~s I would think Your Honor, at least in the
                                                     interests of
        19 saving court time, because we
                                         may have breaxs when these
        20 v:itnesses come, to get transcripts or to revi
                                                          ew or to do
        21 investigation, that at least, Your
                                                Honor, the Government
        u could provide the names of those witnesse
                                                      s.
        23                 THE COURT:    Well, that is not a subject of
        24 this motion.

        25                 MR. PANCER:   Your Honor, it is limiting --
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                                                                             ~i

          1                 THE COURT:    It is a subject of the motion in

         2    a sense, but there is no information provided showing a

         3    specific need.    That has to be done before disclosure can

         4    be compelled.

         5                  MR. PANCER:    Your Honor, we may not have a

         6    right for it in that sense, but I am saying that Your Honor

         7    may wish for us to have it just in terms of getting this

         8    trial over sometime this year.      It will certainly make

         9    things move along.    I don't see that there is any downside

         10   to the Government giving us that.

         11                 MR. GURULE:    Well, there is a downside, Your

        12    Honor, because the narcotics organization that we are

        13    dealing with and the history of violence that comes with

        14    this narcotics organization creates the real concern, not

        15    only for the safety of the witnesses, but for the safety

        16    of the family of the witnesses, the parents of the confiden- I

        17    tial informants, the brothers, sisters of the confidential

        18    informants.    It is not just that particular person that the

        19    concern is limited to.

        20                  So while a witness can be -- a witness can be

        21    intimidated in a number of respects directly or indirectly.

        2~    He can be gotten to, so to speak, through his family, and

        23    that is a real concern that the Government has here as

        24    well.

        25                  THE COURT:    Getting back to the motion, the
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                                                                              ~z

         1   Court is denying the motion.

         2                  MR. PANCER:     I understand.   So every informant
         3   is going to be a witness.        In other words, we don't have
         4   to worry about informants that they have the information

         5   from who are not going to be called?

         6                  In other words, they are all going to be

         7   witnesses?     May I ask.

         8                  MR. GURULE:     That is our position.

         9                  THE COURT:    Maybe we should adjourn at this

        10   time.

        it                  MR. RANDOLPH:    Your Honor, I have two motions

        12   that I am prepared to argue.

        13                  THE COURT:    Which motions?

        14                  MR. RANDOLPH:    The motion for bill of particu-

        15   lars, Your Honor.

        16                  THE COURT:    Yes.

        17                  MR. RANDOLPH:    Then we have a motion for

        18   sanctions and/or a continuance.

        19                  THE COURT:    Well, I don't know what you want

        20   me to do.     Do you want me to work straight through lunch?

        21   Is that it?

                           MR. RANDOLPH:     Well, Your Honor, I think

        23   Mr. Verdugo has a number of motions.       Perhaps the Court
        24   can hold Mr. Felix'.    My sentencing can't take more than

        25   20 minutes.    I could be back here by 2:00 o'clock.      If you
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          1   could hold those until after 2:00 o'clock.

         2                MR. TARLOw:    If Your Honor doesn't have lunch,

         3    do the rulings get better or worse?     If you could give

         4    us that information, we could decide what to do.

         5                THE COURT:    We move faster.

         6                We will adjourn until 1:30.

         7                [Recess from 12:10 p.m. until 1:30 p.m.]

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         1   LOS A~~~~L~~, CALIFORNIA, n10A~DA
                                               Y, JUNE 6, 1988, 1:30 P.M.
         2

         3

         4                 THE COURT:    Are all defendants and counsel in

         5   the United States vs. Caro-Quintero present as
                                                            heretofore
         6   announced?

         7                 MS. LEYVA:    Ms. Yolanda Barrera is not here.

         S   I am here representing Mr. Lopez-Alvarez, Your
                                                            Honor.
         9                 THE COURT:    The two defendants are present

        10   with their counsel.

        I1                 MR. GURULE:    The Government is present, Your

        12   Honor, with Jimmy Gurule and Roel Campos appea
                                                            ring.

        13                 THE COURT:    All right.   The next motion is

        14   the motion of Defendant Verdugo for severance.

        15                 MS. BROOKS:    Your Honor, might that matter

        16   be trailed?    Mr. Pancer is going to argue that, and he

        17   is in another courtroom.      He will be here.   I am prepared
        18   to argue several of the other motions.

        19                 THE COURT:    There is a motion here to submit

        20   questionnaire to prospective jurors.

        21                 MS. BROOKS:    I am ready on that, Your Honor.

        u                  THE COURT:    I do not like these questionnaires,

        23   and most of those questions, with the exception
                                                             of four
        24   or five, are areas that will be covered by the
                                                            Court
        2S   during a voir dire examination, and I don't see
                                                             any reason
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                                                                            75

         1   to grant the questionnaire.     This case is just like any

         2   other case, and I don't think we should establish special

         3   procedures for it.

         4                MS. BROOKS:    Certainly I would prefer not to

         5   have a questionnaire and to be able to observe the jurors'

         6   demeanor during voir dire.     The reason we submitted a

         7   questionnaire in this case is because there has been

         8   extensive pre-trial publicity.     My experience with this

         9   particular questionnaire is that I was co-counsel in the

        10   case of United States vs. De Lorean that was tried in

        11   Detroit last year.     We used the questionnaire in that case,

        12   and surely we saved hundreds of court hours in cutting

        13   down on the voir dire that was necessary based on the

        14   pre-trial publicity.    It was a questionnaire that was

        15   agreed to by both the defendant and the prosecution, and

        16   the Court stated afterward that the judge was very happy

        17   to have been able to use the questionnaire, and it really

        18   saved a lot of manhours.

        19                The questionnaire was originally developed

        20   in the NFL case before Judge Pregerson and used almost

        21   verbatim -- that is, the questionnaire that is submitted

        u    to Your Honor was used almost verbatim by Judge Takasugi

        23   in the first De Lorean trial.     It was just recently used

        24   by Judge Fernandez in that high-publicity Mafia case.

        25   It was used in Connecticut in a high-publicity Mafia case
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         1   and again in Detroit and, I know, across the country.

         2                I certainly understand Your Honor's position.

         3   It is just that we were trying to assist the Court
                                                                in
         4   cutting down.     My experience has been on these high-publicit

         5   cases that to be able to voir dire --

         6                THE COURT:    Well, this isn't really a high-

         7   publicity case.    I mean, I am very well read.     I read
         S   several newspapers a day and magazines, and I have seen

         9   very little about this case.     There was a lot about the

        10   Camarena murder several years ago, but not much recently.

        11                MS. BROOKS:    Well, certainly, Your Honor, it

        12   is going to pick back up again now that we are in motion
                                                                      s
        13   and certainly at the time of trial.     There was the

        14   kidnapping of Matta Ballesteros that was highly publicized.

        15   Again teat was linked to the Camarena case.      Mr. Verdugo's

        16   name appeared in that article.     There was Mr. Subias'

        17   arrest, and again I believe that some of the defendants'

        18   names appeared in those articles, and this is very recent

        19   publicity.

        20                THE COURT:    Well, the only questions relating

        21   to a juror's prior knowledge of the case are Questions
                                                                    59
        22   to 65.

        23                MS. BROOKS:   Your Honor, peripherally, the

        24   other questions asking jurors what they watch as far as

        25   news programs and what magazines they read and newspapers
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                                                                            ~~
         1   they read also go to that.     It is my experience that a

         2   juror may not have a direct recollection when they first        _

         3   look at the case, and they will put that down; and yet

         4   they check off that they read a particular magazine that

         5   has had many, many articles, and after a little more

         6   probing the juror starts to remember.

         7                That is exactly what we experienced in Detroit.

         8   A juror would say, "I have read nothing about this case."

         9   And then it turns out that they read the "Detroit Free

        10   Press" every day where there had been many articles on the

        11   De Lorean case.   They were asked about that, and then they

        12   would say, "Oh, yes, I do remember a little something."

        13               "What do you remember?"

        14               "Well, I remember it had something to do with

        15   e mbezzlement."

        16               "Well, what about it?"

        17               "Well, I think he stole $8.5 million."

        18               "Well, what else?"

        19               "Well, apparently from his motor company."

        20               And it went from there, and it turned out that

        21   the juror with a little prodding actually remembered every-

        u    thing.

        23               And the danger is, Your Honor, that they are

        24 scared when they come in.      They are absolutely petrified.

        25   There is this huge courtroom and the majesty of the Court.
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                                                                            ~$

         1   They are not used to publicly speaking.      They are not used
             to being questioned.      They --
         2

         3                THE COURT:    You have made your point.

         4                MS. BROOKS:    They freeze, and the questionnaire

             stops them from doing that.
         5

         6                MS. LEYVA:    Your Honor, may I briefly add

             something regarding the questionnaire.      The questions
         7
             that we submitted on behalf of Mr. Lopez-Alvarez as
         8
             additional questions in addition to what has been filed
         9
             by Mr. Verdugo are questions that were asked of the jurors
        10
             in the case pending before Judge Rymer, and they were
        11
             specific to that case.
        12
                          However, the situation, I think, is very simi-
        13
             lar in this case, the types of questions that we have
        14
             proposed, and what we found, Your Honor, was that in
        15
             answering the questions on paper and in private the jurors
        16
             really did open up in terms of whether they thought that
        17

        18   the defendants, because of their background, were either

             more likely or less likely to commit crimes of violenc
        19                                                          e,
             for example, or whether that particular juror had had
        20                                                         any
             incidents that would cause them to be uncomfortable
        21                                                       in
             sitting in a trial where kidnapping or torture or murder
        22
             were to be described, and those individuals were taken
        23
             at sidebar and questioned about what they had noted down
        24
             in the questionnaire in a manner that I think both
        25                                                      protected
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             1   their privacy interests and in a manner that allowed them

             2   to open up and allowed defense counsel and the Government

             3   to exercise their peremptory challenges wisely.       We were
C            4   not dealing with challenged jurors based on that informa-

             5   tion.   In fact, the Government did so as well, and I think

             6   it is a very useful tool, and it is efficient.

             7                The jurors took about 45 minutes to an hour

             8   to fill it out.   As soon as they were copied, we were all

             9   given copies, and we worked through them as fast as we

            10   could, and jury selection was very efficient, I think, in             ~

            11   that case, and for that reason, Your Honor, I would strongly ',

            12   urge the Court to consider such a questionnaire.       I think

            13   it is fair to both sides, and I think we will get through

            14   it much quicker and in a manner that is protective of the

            15   jurors' privacy interests as well.

            16                MS. BROOKS:    Your Honor, just one other point

            17   I wanted to make, which is that there are several Ninth

            18   Circuit cases where Courts have been reversed for failure

            19   to ask certain questions in voir dire.

            ZO                THE COURT:    You are free to submit your

            21   questions for voir dire.

                              MS. BROOKS:   Excuse me, Your Honor, --

            23                THE COURT:    A lot of these questions would

            24   be appropriate for voir dire.

            25                MS. BROOKS:   What happens, Your Honor, when
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         1   we submit them to the Court in that fashion, there are these

         2   arguments at sidebar, and nothing is getting done.       The

         3   questionnaire is resolved in advance.     Questions are put

         4   to the jurors, and we are told in Ninth Circuit case law

         5   that we then have no room to complain about the voir dire

         6   process.

         7               THE COURT:    Do you wish to be heard?

         8               MR. GURULE:    Your Honor, it is the Government's

         9   position that voir dire by the Court is sufficient and that

        10   a questionnaire is unnecessary.     Mr. Campos and I were the

        11   prosecutors who prosecuted the Raul Lopez-Alvarez case

        12 ' before Judqe Rymer, and we do not share the same opinion

        13   that Ms. Leyva does.

        14               THE COURT:    Well, I don't share your optimistic

        15   view of it from your own description.     It sounds like a

        16   cumbersome procedure.

        17               I agree perhaps that a questionnaire developed

        18   limited to Questions 59 through 64, which deal with knowledge

        19   of the case and pre-trial publicity, might be appropriate;

        20   but as far as the other questions, I would deny that.       So

        21   the ruling is that I deny your motion for this questionnaire,

        ?1   but I will consider a motion, which is to be agreed upon

        29   by the parties, concerning Questions 59 through: 64.

        24               MS. BROOKS:    Your Honor, if there are other

        2S   questions that we can support by case law, will Your Honor
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         1   consider those in our submission for the questionnaire?

         2                  THE COURT:    What do you mean "supported by

         3   case law"?     Do you mean I am required to do it?

         4                  MS. BROOKS:    Yes, Your Honor.

         5                  THE COURT:    The case law says that I must?

         6                  MS. BROOKS:    Well, basically.

         7                  THE COURT:    Well, I'd like to see that.

         8                  MS. BROOKS:    Thank you, Your Honor.

         9                  THE COURT:    When you submit your request, you

        10   can include that.

        11                  MS. BROOKS:    Thank you, Your Honor.

        12                  THE COURT:    Now, we have from Defendant Verdugo'

        13   motion to compel voice exemplars.       The Court has read the

        14   motion and considered it as well as the opposition to it.

        15   This is my tentative conclusion with respect to Mr. Gomez.

        16   I would grant the motion, but I would tailor the order

        17   to protect the Government's interest in confidentiality.

        18   I will explain that in a moment.

        19                  With respect to the request to provide exemplars

        20   of all Government witnesses, I would deny that and state

        21   the reasons.    With respect to Mr. Camarena, I would grant

        22   that, but the order would also protect the Government's

        23   interest of confidentiality.

        24                With respect to Mr. Lopez, that does not appear

        25   to be in dispute, and I would grant that.
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         1                 Now, the Court is inclined to make the following

         2   order with respect to the defendant's motion to compel

         3   Jorge Gomez-Espana to provide a voice exemplar.       The
         4   Government must make a voice exemplar if Gomez is a witness/

         5   informant, and the exemplar must be provided to the defendan

         6   when the Government identifies Gomez as a witness, if such

         7   event ever takes place.

         8                 This order balances the interests of the

         9   defendant with the Government's interest of protecting

        10 ~, the confidentiality of its witnesses' identity prior to

        11   trial.

        12                 Now, no showing has been made to the Court

        13   sufficient to show a particularized need for the voice

        14   exemplars of all the Government's witnesses.      That request

        15   r as the effect of disclosing the identity of the Government's

        16   informants.

        17                 So for those two reasons the Court would deny

        18   the motion with respect to all witnesses.

        19                 A tape recording of Agent Camarena's voice

        20   should be turned over to the defendants' counsel.       However,

        21   if the Government is not able to mask over the confidential

        22   informant's voice -- it has not been explained why you

        23   could not do that -- then the Court orders that the tape

        24   may only be heard by the defendant5~ -voice expert, and no

        25   other person.   Defendants, however, should be given an
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         1   opportunity to contest the authenticity of the interroga-

         2   tion tape by providing evidence that the voice on the tape

         3   is not Agent Camarena, if they can do that.       Of course,
         4   the defendants will still be required to lay a proper

         5   foundation for the voice print evidence.      The Court is

         6   not ruling on its admissibility or inadmissibility at

         7   this time.   But general problems associated with the

         8   technique of voice print identification may go only to

         9   the weight, not to the admissibility, of the evidence.

        10   That remains to be seen.

        11                At any rate, the determination on the admissi-

        12   bility of the evidence is best made after the Court has had

        13   an opportunity to hear both sides' testimony as to the

        14   methodology and techniques that were used.

        15                The Defendant Lopez has not filed an opposition

        16   to defendants' request for a voice exemplar and has joined

        17   the motion with respect to Gomez and Camarena.       The Court
        18   is not aware of any reason for denying defendants' request

        19   that Lopez provide a voice exemplar.

        20                That would be what I intend to do on this

        21 Imotion.

                          Do you wish to be heard?

        23                MR. PANCER:    Nothing further, Your Honor.

        24                MS. LEYVA:    Nothing further.

        25                MR. GURULE:    Nothing further, Your Honor.
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              1                THE COURT:   All right.

              2                Defendant Verdugo's motion for notice of

              3   intention to use evidence.     The Court has read and con-
              4   sidered that motion.    Now, as I understand it, Nlr. Verdugo

              5   moves pursuant to Federal Rules of Criminal Procedure

              6   12(D) for notice of the evidence that the Government

              7   intends to use against him in its case in chief at
                                                                     trial
              8   and identification of the methods by which the Government

              9   obtained this evidence.

             10                In the Government's notice of intent to

             11   introduce evidence at trial, it appears that the Gover
                                                                         nment
             12   has adequately responded to defendants' motion.

             13                It does not appear that there is anything left

             14   for the Court to do with respect to this motion.

             15                At the conclusion of its notice, the Government

             16   requests that the Court rule on the admissibility of
                                                                       a
             17   similar bad act by the Defendant Raul Lopez.      This matter
             18   has not been raised by the Government in a properly
                                                                      noticed
             19   motion and will not be ruled upon at this time.       The issue
             20   is raised by Verdugo as an alternative motion in his
                                                                       motion
             21   to sever and will be dealt with on June 20th.      So we will
             22   reserve ruling on that issue on the admissibility of
                                                                       his
             29   prior acts until that time.

             24               Does anyone wish to be heard on this?

             25               MR. TARLOW:    Your Honor, we joined in that


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         1   and also filed a motion that is related to that and perhaps

         2   was not covered --

         3                THE COURT:     What is the motion?

         4                MR. TARLOW:     It is,a request to disclose the

         5   prior bad acts so that we can file an in limine motion

         6   to try and exclude them.

         7                THE COURT:    I haven't seen that yet unless

         8   it is in this stack.      What about this motion?

         9                MR. TARLOW:    It really relates to this motion,

        10   and we could cover it now.        I don't know if it is in the

        11   rest of your stack or not.        However the Court wants to

        12   proceed.

        13                THE COURT:    Prior bad acts on the part of whom?

        14                First, do you have any intention of introducing

        15   evidence of prior bad acts of -- which defendant?        Verdugo?

        16                MR. TARLOW:    No.    I'm interested in Mr. Felix.

        17                THE COURT:    Felix-Gutierrez.

        18                MR. TARLOW:    What the motion asked for was

        19   for the Government to tell us any wrongful conduct they

        20   intend to introduce against Mr. Felix apart from the

        21   murder/kidnapping conduct so we can file a meaningful

        22   motion with the Court or make an objection before opening

        23   statements or before the trial in order to exclude it.

        24                THE COURT:    What about that?

        25                MR. GURULE:    The Government does intend to
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         3   as --

         4                 THE COURT:    What specifically are the acts?

         5   Possession?

         6                 MR. GURULE:    Possession, possession with intent

         7   to distribute, distribution, and importation of control
                                                                     led

         8   substances, specifically cocaine and marijuana.

         9                 THE COURT:    Does that comprise all of the bad

        10   acts you would expect to introduce?

        I1                 MR. GURULE:    There will be in addition some

        12   evidence regarding false passports, traveling with a false

        13   passport, traveling under an assumed and different names

        14   other than his true name.

        15                 THE COURT:    Anything else?

        16                 MR. GURULE:    And possession of weapons, illegal

        17   weapons.   Specifically at the time of his arrest he was

        18   armed with a .45 caliber handgun.

        19                 THE COURT:    All right.   You will be offering

        20   these as being permissible under the rules of evidence.

        21                 Do you now know what they are?

        u                  MR. TARLOW:   No, Your Honor.   I mean, I know

        23   the last thing that he told Court, that is, he is going

        24   to offer that he was armed with an illegal weapon at the

        25   time of his arrest.
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         1                 THE COURT:    Possession of an illegal weapon.

         2                 MR. TARLOW:    At the time of his arrest.   That

         3   is correct.    I know what that is, and obviously I can file

         4   some meaningful points and authorities with relation to

         5   that.

         6                 The general statement that at some point in time

         7   he possessed with the intent to distribute or imported

         8   some cocaine or marijuana really doesn't give me enough

         9   to intelligently brief that for the Court.      I don't want

        10   to just simply submit. some boilerplate regarding prior

        11   acts, but I would like to tailor what I submit to the

        12   Court to what the conduct is.      If the Government would

        13   tell us where, when, and how he committed the crimes in

        14   not any great detail.      I am not interested in the witnesses.

        15   But three years before in Los Angeles either related to

        16   this or not related to this, he possessed cocaine with

        17   the intent to sell, then I could file a meaningful motion;

        18   but in just looking at what you have been told -- posses-

        19   sion with intent to distribute or importation of cocaine,

        20   I think there is no way that I can brief that and help

        21   the Court without some kind of detail.

        22                 For example, that he had a false passport --

        23   where, when, and how?      Ten years before?

        24                 THE COURT:    Why do you need to know that if

        25   you simply wish to move to exclude that evidence as not
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         1   being relevant in this case?

         2                MR. TARLOW:    Well, for example, I think the
         3   false passport is relatively simple.      The Government says
         4   they want to offer evidence that he had a false passport.

         5   Let's assume that evidence is ten years before; you have

         6   one kind of relevancy analogy.     If the evidence is --
         7                THE COURT:    Well, don't you think that when
         8   you file your motion their response will have to indicate

         9   the relevancy of this evidence and they will have to explain

        10   why it is being offered, what its relevance is, and the

        it   proximity of the events in this case so that you will know?

        12                MR. TARLOW:    Well, what happens in that scenario,

        13   Your Honor, is, I file something which is general, saying

        14   I want to exclude this stuff, I can't say anything that

        15   helps you very much.

        16                THE COURT:    There is not much to say when you
        17   are excluding bad acts.    You simply say that it is contrary
        18   to the law to allow prior bad acts unless they otherwise

        19   qualify, and you ask the Court to exclude them, and that

        20   shifts the burden to the Government to have to justify the --

        21                MR. TARLOW:   If that is the way the Court feels
        22   I should proceed, that is fine.

        23                The only thing is, I read the transcript of

        24   the first hearing and saw where the Court said that you

        25   wanted specific points and authorities, not general ones.
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         1                THE COURT:     That was in relation perhaps to

         2   the disclosure of the informant.      This is an evidentiary
         3   motion.

         4                MR. TARLOW:     That is fine, Your Honor.   I
         g   will file a motion to exclude it, and then the Government

         6   can say what they are and why they are admissible, and

         7   then I can file a response saying why I think their

         g   position is wrong.    That is perfectly agreed.

         g                MR. GURULE:     Your Honor, I would like the           I~
        ~p   record to reflect one thing, that a lot of what Mr. Tarlow

        >>   is asking for he has received via discovery.      Specifically,
        12   when he talks about the -- or comments about the use of

        13   the false passport, we have disclosed through discovery

        ~4   Customs declarations showing exit and entry in Costa Rica

        ~S   to Los Angeles, Mexico, Panama, et cetera.      The specific

        16   dates are on those Customs declarations, the date of the

        17   travel, the exit, and the entry, and the countries involved.

        18   He certainly has that type of detailed information, along

        ~g   with hotel records that show use of a false name, the cities,

        20   the dates, et cetera.      Again, it is very specific, and I

        2~   think a lot of what Mr. Tarlow is looking for is in the

        22   discovery.

        23                MR. TARLOW:    Your Honor, I have looked through

        24   the 2,000-some pages of discovery.     But that is the very

        25   purpose of Rule 12(D).     I shouldn't have to guess what they
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                                                                             .~


         1    are going to use.   12(D) says to tell us so we can make

         2    an intelligent objection.

         3                 THE COURT:   He has told you.

         4                MR. TARLOW:    Did you want us to set that for

         5   the 20th, Your Honor?

         6                THE COURT:    No.   That should be closer to the

         7   date of trial, the in limine motions involving
                                                            evidentiary

         8   questions.

         9                We have a motion by the Defendant Verdugo for

             discovery of Grand Jury proceedings.      The Court has read
        10
             and considered this motion and the opposition
        11                                                 to the motion,
             and the motion makes several different reque
        12                                                sts.

        13                First, the Government states that there has

             been no order authorizing extension of the Grand
        14                                                    Jury and
             ro relevant Grand Jury testimony which has
        15                                              not been tran-
             scribed.   These are two of the requests.
        16

        17                I assume that is the case.    Is that true?

        18                MR. GURULE:    That is correct, Your Honor.

        19                THE COURT:    The Government has agreed to disclose

        20   and the Court finds that disclosure is permi
                                                          ssible, of the
             following things:    records setting forth the method by which
        21
             the Grand Jury was impaneled and notice of the
        2Z                                                  dates and
             times in which the Grand Jury heard testi
        23                                             mony concerning

        24   the investigation of Verdugo.

        2S                Mr. Verdugo seeks a variety of items the
                                                                   disclosu
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          1    of which entails the disclosure of the identity
                                                               of the
               Grand Jurors.   Particularly, he seeks the names or symbols
         2

         3     of the Grand Jurors and roll sheets of the juror
                                                                s' attend-

         4     ance.    None of these materials is discoverable.   Verdugo
               has failed to demonstrate a particularized need
         5                                                     for such

         6     items.   The asserted need that is stated is based on a

         7     speculative allegation of Grand Jury bias.    Such specula-

         8     tion is insufficient to show a particularized
                                                             need, and

         9 any asserted need is outweighed by the Court's obligation
               to protect the secrecy of the Grand Jury proceeding
        10                                                         s.

        11                  There is, furthermore, a presumption of regu-

               larity in the Grand Jury proceedings.   Making disclosure
        12

        13 of this information to determine whether a quorum partici-

        14 pated in voting is unnecessary.

        15                  There is also sought by this motion a variety

        16 of items, the disclosure of which would reveal the identity

        17 of witnesses that appeared before the Grand Jury.        Specific-

        18 ally, Mr. verdugo seeks all subpoenas issued, copies of

        19 all Grand Jury testimony, and notice of whether other

        2d     Grand Jury transcripts were presented to the Grand Jury

        21 returning the indictment.       The basis for each of these
               requests is a generalized allegation of prosecutor
                                                                  ial
               isconduct.
        23

        2~ ~                With respect to Mr. Verdugo's request for the

        2!     ubpoenas and the copies of the Grand Jury transcript
                                                                    s,
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                                                                            `' '~


         1   this allegation is completely unsubstantiated.

         2                With respect to Mr. Verdugo's request for

         3   notice of whether other transcripts were presented
                                                                to

         4   the Grand Jury, Mr. Verdugo's allegation of prosec
                                                                utorial

         S   misconduct based on the introduction of hearsay
                                                             evidence

         6   is contrary to the law.

         7                Finally, Mr. Verdugo requests disclosure of

         8   all individuals to whom the Government has provid
                                                               ed Grand

         9   Jury testimony pursuant to Rule 6(E)(3)(C)(2).       This

        10   request will be examined by the Court when it rules
                                                                 on

        11   Mr. Verdugo's motion for Rule 6(E) sanctions, which
                                                                 I

        12   understand is set on June the 20th.

        13                That is the view of the Court respecting this

        14   question.   Do you wish to be heard?

        15                MR. PANCER:    Nothing further, Your Honor.

        16                THE COURT:    Defendant Verdugo's motion to

        17   suppress evidence and request for an evidentiary hearin
                                                                    g.

        IS   This is filed by Mr. Verdugo only.     There is no joinder.

        19   The Court has read and considered this motion, and
                                                                for

        20   the reasons which I will state to you in a moment
                                                               , the

        21   Court's tentative decision is to deny the motion.
                                                                     The
             reasons are these.

        23               The only issue before the Court is whether

        24   evidence concerning Defendant Verdugo's hair sample
                                                                 s

        25   should be suppressed.     The question of whether an evidentiary
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 r"
_'             1   hearing is necessary is a matter left to the discretion

               2   of the trial court.     In the context of a motion to suppress,

               3   an evidentiary hearing is required if the moving papers

               4   are sufficiently detailed, specific, and non-conjectural

               5   to persuade the Court that contested issues of fact going

              6    to the validity of the search or seizure are in question.

               7                  In this case the Defendant Verdugo's claim

               8   that his arrest was pretextual     is unsupported by specific
               9   and detailed factual allegations and is contradicted by

              10 ~' the Grand Jury's indictment in this case pending in the

              11   Southern District of California.     Furthermore, the active

              12   prosecution of the case belies the contention that it is

              13   pre textual.     The defendant's arrest was made pursuant

              14   to a valid arrest warrant, which certifies that the arrest

              1S   w as based upon probable cause that an illegal act had

              16   occurred, and there was probable cause to believe that

              17   the defendant had committed the offense.

              18                  The Fourth Amendment requires only that the

              19   arrest be based upon probable cause.     The fact that the

              20   Mexican officers did not obtain a Mexican warrant is not

              21   significant under the Fourth Amendment.      As long as the

              22   arrest was based upon probable cause, and the arrest warrant

              23   issued in the Southern District of California certifies

              24   that there was probable cause to arrest Defendant Verdugo,

              2S   then the arrest was reasonable under the Fourth Amendment.
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             1                Moreover, even if the arrest was not based

             2   upon probable cause, Defendant Verdugo consented to the

             3   Grand Jury's request that he provide hair samples.

             4   Defendant's consent, if voluntary, precludes suppression

             5   of the evidence.   In this case the defendant has failed

             6   to allege that his consent was not voluntary, so there

             7   is no need for an evidentiary hearing on the issue of

             8   voluntariness.   But even if consent was involuntary, the

             9   arrest was reasonable so the subsequent taking of hair

            10   samples does not constitute the fruit of an unlawful arrest.

            11                MR. PANCER:    If I may very briefly, Your Honor.

            12   It is our position -- first as to the voluntariness, I

            13   spoke with the attorney who was representing Mr. Verdugo

            14   at the time he went back to the Grand Jury in Washington,

            15   D, C., and it was at that time, I understand, that the

            16   hair sample was taken.     His attorney at that time was an

            17   attorney by the name of Howard Frank, who practices law

            18   in San Diego, California.     But 2 have been told by Mr. Frank,

            19   and I would like to make it a matter of record as an offer

            20   of proof, that Mr. Verdugo's counsel, Mr. Frank, was told

            21   by Mr. Wilson, the Assistant United States Attorney handling

            u    the case, that a hair sample would be obtained; that

            23   Mr. Verdugo could give the hair sample, or he could be

            24   taken to a Court or a judge, and a judge would order that

            25   the hair sample be given.    Based on Mr. Frank's understanding
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         1   of the state of the law, the defendant did not have a

         2   right to refuse to give a hair sample, that is, that the

         3   Court could forcibly have the hair sample taken.

         4                And rather than cause the Government to take

         5   Mr. Verdugo before the Court and to expedite the matter,

         6   he gave it without going before the Court.

         7                It would be our position that is still not

         8   a voluntary giving when you give the hair sample, or you

         9   are told you either give the hair sample or you go to a

        10   judge and the hair sample will be ordered and forcibly

        11   taken.   In other words, you can have a choice.

        12                As to the issue of the arrest, Your Honor,

        13   we are saying that Mr. Verdugo was arrested in Mexico.

        14   He wasn't arrested in the United States.      We believe,

        1S   Your Honor, that U. S. agents were involved in that

        16   illegal arrest in Mexico.

        17               It is true that once he came to the United

        18   States, they did have a warrant and they did have probable

        19   cause here in the United States, but they arrested him

        20   illegally in Mexico because they did not arrest him in

        21   accordance with either the laws of Mexico or in accordance

        u    with the laws of the United States as they apply to the

        2~   e xtradition treaty, Your Honor.

        24               THE COURT:    Do you wish to be heard?

        25               MR. GURULE:    Just to the effect that there
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      1   is no evidence before the Court regarding any lack of

      2   consent.

      3                 THE COURT:    That is true.   There isn't.     I
      4   am not sure that the purported evidence here would amount

      5   to that in view of the fact that the man was represented

      6   by an attorney at the time of the proceedings.

      7                 The motion is denied.

      8                 MR. PANCER:    Your Honor, I understand that

      9   Your Honor trailed the severance motion until I could

     10   get here.    I appreciate that.

     11                 THE COURT:    Yes.   We will call that.

     12                 Defendant Verdugo has filed a motion for

     13   depositions, joined in by Felix-Gutierrez and Lopez-Alvarez.

     14   The Court has read and considered, and subject to some

     15   further clarification, would grant a deposition of

     16   Caro-Quintero to the Defendant Felix.       He is the only

     17   one that would be entitled to it for these reasons.        The

     18   Defendant Felix has belatedly submitted the purported

     19   declaration of Caro-Quintero, who states that Felix did

     20   not assist him in traveling from Mexico to Costa Rica

     21   in 1985.    The attorney who took the declaration states

     u    that Caro-Quintero manifested an acceptance and willingness

     23 ~, to be deposed regarding this matter, but in error this

     24   willingness to be deposed was not included in the declara-

     25   tion.
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      1                  First, Caro-Quintero is unavailable to testify

     2    at trial.   That is the first requirement.     The second,
     3    as a witness to acts which the Defendant Felix is alleged

     4    to have committed, he is a material witness.      Finally,
     S    his declaration reveals that he has evidence favorab
                                                               le
     6    to the Defendant Felix.

     7                   The Defendants Verdugo and Lopez have failed

     8    to file any declaration supporting their requests for

     9    depositions; therefore, those requests are denied.

     10                  Now, the one problem I have is, how do I know --

     11   I'd like to know what the proof is that this is a genuine

     12   declaration.    How was it obtained?

     13               MR. RANDOLPH:     I can make that representation.

     14   Counsel for Jesus Felix have retained a Mexican attorney

     15   by the name of Jorje Celes, and his declaration is before

     16   the Court in the packet we submitted.     He, at our request,
     17   personally met with Caro-Quintero on the date that

     18   Caro-Quintero's declaration is signed, and that is when

     19   that declaration was done.    It was signed, I think, about
    20    a week ago, Your Honor.

    21                Subsequent to that time, when I discussed it

    u     with him over the phone, he indicated that -- I discussed

    23    with him that Caro-Quintero, although verbally he stated

    24    he would be prepared to submit to the deposition, that

    25    was inadvertently excluded.
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      1                  I asked him to go back the next day, and the

      2   jailer wouldn't give him access to Caro-Quintero the next

      3   day.   That is why I included his declaration as well.

      4                  I had him Fax those declarations directly

      5   to my office from Mexico, which he did.        I asked him to

      6   mail the originals to our office, which he has, and as

      7   soon as they are received, I will submit them and file

      8   them separately with the Court.

      9                  THE COURT:    All right.   Now, you understand

     10   that by granting a motion I don't guarantee that you

     11   can have the deposition because many countries have laws

     12   about depositions being taken in their country.       I don't

     13   know if you are aware of that or whether you have looked

     14   into it.

     15                  MR. RANDOLPH:    We have done some preliminary

     16   checking, Your Honor, but I assume that the United States

     17   State Department won't throw any obstacles in o.ur way,

     18   and in this case hopefully they will not, and we are hoping

     19   that the Mexican government will also cooperate.

     20                  MR. GURULE:    That does raise a certain point

     21   of logistics.    As the Court may or may not be aware,

     22   Rafael Caro-Quintero is presently in custody in Mexico

     23   City on Mexican charges.

     24               THE COURT:       That is what I understood from his

     25   declaration.
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      1                MR. GURULE:    Stemming from the kidnap and

      2   murder of Enrique Camarena.     I have done a little prelimi-

      3   nary investigation, and what I have been told is that a

      4   foreign deposition of Rafael Caro-Quintero could in fact

      5   be used in the pending Mexican proceedings against him.

      6   I think that that is one primary concern.

      7                The second is, since there are pending judicial

      8   proceedings, we would need to obtain the judicial authority,

      9   the authority of the presiding judge over the case to

     10   permit a video-taped deposition with the full breadth of

     I1   cross-examination that the Government would be requiring.

     12   If the Mexican authorities or the Mexican presiding judge

     13   does not give that authority, that might not be attainable.

     14               Now, the other point that I raise, and I will

     15   just leave it at this, is that this case has been pending

     16   for five months, and we are getting declarations of

     17   Rafael Caro-Quintero dated last Friday.     It has taken

     18   five months to get the declaration, and we have a trial

     19   date coming up, and the Government would certainly be

     20   prejudiced, substantially prejudiced, if this case were

     21   delayed months and months in an attempt --

     u                THE COURT:     And that is because of the late

     23   request and because there is no assurance that this deposi-

     24   tion can be taken and because the offer of proof that is

     25   made here is not of great significance in the overall number
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      1   of charges, that is, it is a small part of what this

      2   defendant is charged with.

      3                 I would not expect to delay the trial because

      4   you have run into logistical problems getting the deposi-

      5   tion.   You have asked for it, and I grant it subject to

      6   your being able to work it out and get it done.

      7                 MR. RANDOLPH:   Your Honor, I appreciate --

      S                 THE COURT:   If you can't, we will proceed withou

      9   it.

     10                 MR. RANDOLPH:   I appreciate that.   Two points
     11   I would like to make, Your Honor.

     12                 One is that the Court is incorrect in saying

     13   that the statement that Caro-Quintero made is only directed

     14   to one aspect of my client's case.     In fact, if the one

     15   statement that is contained in his declaration that

     16   Jesus Felix did not assist him in traveling to Costa Rica

     17   from Mexico, if that indeed is accepted by the jury, for

     18   all of the charges my client will be found not guilty

     19   because the only thing he is charged with is aiding and

     20   abetting -- I am sorry -- being an accessory after the

     21   fact in assisting Caro-Quintero getting from Mexico to

     IZ   Costa Rica.   If the jury believes Caro-Quintero over

     2~   whatever confidential informants the Government presents,

     24   my client will be found not guilty.    So it is not an

     25   insignificant fact.   It is the most significant fact.
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      1                The second thing I'd like to say is that the
      2   Government stands up today and says that we have been
      3   tardy in pursuing our investigation when they presented
     4    the last packet of materials pursuant to this Court's

      5   discovery order last week or a week and a half ago, some
     6    almost eight weeks after you gave them a cut-off date of
      7   March 31st to present their discovery materials.

      8                So I think to the extent the Government is
     9    allowed to file -- to not comply with this Court's orders,

     10   we should be given some leeway in terms of trying to do

     11   our investigation in Mexico while we are receiving packets

     12   of material and discovery from the Government almost eight

     13   weeks after you ordered it to be turned over.      We are
     14   doing the best we can, Your Honor, and we will proceed

     15   at pace in making sure we pursue this investigation.
     16               THE COURT:    The motion is granted under the
     17   terms and conditions I have stated.
     16               MR. GURULE:    May I make one last point on
     19   that issue, and it is a concern that the Government has
     20   also relative to the Defendant Jesus Felix' presence in

     21   Mexico when the deposition is taken.     Rule 15 does pro-
     u    vide for the defendant to be transported to the location

     2~   where the deposition is to be taken by the U. S. Marshals.

     24   Now, that raises all kinds of nightmares in terms of

     25   safety and security and flight and escape risks and so
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      1   on, and that is one other reason that the Government would

      2   argue that it is not in the quote-unquote interests of

      3   justice, which is the standard again, because of that

      4   safety consideration.

      5                THE COURT:    I don't recall seeing that nnint

      6   raised in your response.

      7                MR. GURULE:     Well, actually, it is interesting.

      8   Our hands were tied relative to our response because when

      9   the initial response was made, there was no specific depo-

     10   sition that was included in Mr. Pancer's papers.       Basically

     11   it was a notice of intent to take somebody's deposition

     12   sometime, and the Government wasn't informed as to who

     13   that person or persons were to be or where.

     14                THE COURT:    You understood that they were of

     15   foreign nationals, didn't you?

     16                MR. GURULE:     Well, I mean that was certainly

     17   one possibility.

     18                THE COURT:    Well, you know, that is a different

     19   matter.   We have Mr. Gutierrez serving a sentence in this

     20   country faced with these unlitigated charges in this case.

     21   Is it your intention to have the defendant present in

          Mexico during the taking of this deposition?

     23                MR. RANDOLPH:    If the law doesn't provide for

     24   it, Your Honor, or if it is a problem because he is in

     25   custody here in the United States, of course we will take
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      1   it without him being present.

      2                  THE COURT:   Well, I would hope so.    I would

      3   change my order if not.

      4                  MR. RANDOLPH:   Your Honor, may I make one other

      5   point.    That is that we are not untimely in this.      This

      6   motion to request depositions, which was joined
                                                          in by

      7   Mr. Pancer, was filed well before the April 15 motion

      8   date.    Today is the day for the hearing.    Today is the

      9   day it was to be decided.

     10                  THE COURT:   All right.

     11                  MR. RANDOLPH:   Incidentally, we also filed

     12   the translation of the declaration of Ernesto Fonseca-

     13   Carrillo, and we have asked that we be allowed to take

     14   his deposition as well in Mexico.

     15                  THE COURT:   When did you file that?

     16                  MR. RANDOLPH:   It is attached to the declaration

     17   you have before you.      It is right after Jorje Celes'

     18   declaration.

     19                THE COURT:     Don't you have a motion here

     20   complaining about the Government's late filing of things
                                                                   ?

     21                MR. RANDOLPH:     Yes, I did, Your Honor.

     22                THE COURT:     And you asked that they not be

     29   considered if filed late?

     24                MR. RANDOLPH:     Unless there is some reason

     25   that is inherent in the filing, Your Honor, as to what it
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      1   is that has been filed.      we just obtained this information.

      2                THE COURT:    Well, what -- when did you file

      3   this?

      4                MR. RANDOLPH:     This was filed last week.

      5                THE COURT:    No.   This other person that you

      6   wish to depose, his affidavit?

      7                MR. RANDOLPH:    It was filed at the same time

      S   as the Caro-Quintero one that you just ruled on.

      9                MR. GURULE:     The Government received it Friday,

     10   Your Honor, of last week.     It was when the Government

     11   received the declarations, and it was attached to the

     12   same batch of declarations that the Caro-Quintero declaration

     13 i was.

     14                THE COURT:    Well, does this affidavit show that

     15   this caitness is unavailable?

     16                MR. RANDOLPH:    It does, Your Honor.

     17                THE COURT:    Is he in custody?

     18               MR. RANDOLPH:     It does, and he also states --

     19               THE COURT:     Is he in custody?

     20               MR. RANDOLPH:     He is, in Mexico.

     21               THE COURT:     And under a charge there in Mexico?

                      MR. RANDOLPH:     He is.   He is a co-defendant

     23   in this case, Your Honor.

     24               THE COURT:     What is the materiality of his

     25   evidence?
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      1                MR. RANDOLPH:   First, he states that he did

      2   not -- even though he is a co-defendant in this case,

      3   Your Honor, that he is innocent of the charges and
                                                             that

      4   he did not have any. involvement in the case, and he will

      5   contradict Government's witnesses who presumably will

     6    come in and testify that indeed that is not so.      And he

      7   was a percipient witness, obviously, Your Honor.

      8               THE COURT:    What evidence does he offer that

      4   would benefit your client?

     10               MR. RANDOLPH:    To the extent, Your Honor, that

     11   the Government has witnesses who will claim that he and

     12   Caro-Quintero are jointly involved in the abduction and

     13   torture and murder of Camarena, he states unequivocally

     14   that all the statements against him in that regard, that

     15   he was acting in concert with other people, including

     16   Caro-Quintero, that those statements are false.      That

     17   information may be used either directly or to impeach

     18   witnesses who testify for the Government.

     19               MR. GURULE:   His statement obviously is very

     20   different from the Caro-Quintero statement.     In the

     21   Caro-Quintero, the declaration there is he says that

     22   Jesus Felix did not assist, aid and abet, or act as an

     23   accessory after the fact, or words to that effect.

     24               In the Fonseca-Carrillo declaration there

     25   is none of that.   In fact, even if he was found innocent
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      1   of the charges against him, that would not serve to

      2   exculpate the Defendant Jesus Felix in any way but

      3   relative to whether or not he arranged the flight out

      4   of Mexico to Costa Rica and then assisted him in Costa

      5   Rica upon his arrival.

      6                THE COURT:    Well, this favorable testimony

      7   has not been interpreted in this circuit, in the Ninth

      8   Circuit, but there have been cases that have stated that

      9   the materiality prong -- the statute requires a reasoned

     10   basis for expecting that the testimony may exonerate

     11   him.

     12                I don't think that the showing that has been

     13   made with respect to this other witness is sufficient.

     14   Therefore, your motion is granted only as to Caro-Quintero.

     15                MR. RANDOLPH:   Your Honor, may that be granted

     16   without prejudice to attempt to get a more detailed

     17   statement from Ernesto Carrillo as to what he might have

     18   to say that might exonerate my client?

     19                THE COURT:    The answer is no.

     20                MR. TARLOW:   Your Honor, may I have a moment

     21   to discuss something with Mr. Randolph.

     22               MR. PANCER:    While he is doing that, Your

     23   Honor, may I just say that while we join in that request

     24   for depositions -- we filed the original motion -- we

     25   didn't get the affidavit from Caro-Quintero, but clearly
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      1   it would be exonerating as to my client Rene Verdugo based

     2    on the Government's theory of the case.       So we would ask

     3    for leave to be present at those depositions and join in

     4    the request for depositions.

     5                  MR. GURULE:     I am sorry.   I didn't mean to

     6    interrupt.

      7                 MR. PANCER:     We are still trying to obtain

      8   depositions.    Part of the problem, Your Honor, is that

     9    the Government hasn't told us much about the case, so

     10   we are continuing to do investigation.        I am hopeful we

     11   may obtain affidavits on which we can base requests for

          depositions, and we are going to continue to do it, Your
     12

     13   Honor, and we wiT1 lodge them with the Court.

     14                 THE COURT:     At the present time I have ruled

     15   that you are not entitled for the reasons that I have

     16   stated.

     17                 MR. PANCER:     To --

     16                 THE COURT:     To take depositions.

     19                  MR. PANCER:    But Mr. Caro-Quintero's deposition,

     20   Your Honor?

     21                 THE COURT:     Yes.

                        MR. PANCER:     We can or cannot?

     23                 THE COURT:     Cannot.

     24                 MR. PANCER:     Only Mr. --

     25                 THE COURT:     He is the only one that filed a
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      1   motion that meets the requirements.

      2                 MR, PANCER:     Well, I filed a motion.   I didn't

      3   file the affidavit.

      4                 THE COURT:    Well, that is what is required.

      5                 MR. PANCER:     But it is the witness' affidavit,

      6   not counsel's affidavit.      In other words, we can assume

      7   that the witness will testify in accord with his affidavit

      8   no matter who is asking him the questions.

      9                 THE COURT:    The witness gave specific testimony

     10   regarding Mr. Gutierrez.      He said nothing about your client.

     11                 MR. PANCER:     That is correct.   He also said that

     12   he himself was not involved in the murder of Mr. Camarena;

     13   and if that is true, then it would undermine -- and if

     14   the jury does believe that is true, then clearly it would

     15   undermine a number of the witnesses the Government intends

     16   to ca11.

     17                 THE COURT:    The motion is denied.

     18                 MR. RANDOLPH:    May I clarify one point on that,

     19   Your Honor.   The Court has stated that -- I am not sure

     20   that it stated.   If the law otherwise allows my client

     21   to be present in Mexico, even though he is in custody

     22   in the United States, is it the Court's ruling that not-

     23   withstanding he might legally be there, if we then wish

     24   to exercise his legal right to be there, then the Court

     25   would deny the motion?
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      1                 THE COURT:   Well, you told me you did not wish

     2    to exercise that.

     3                  MR. RANDOLPH:   I hope I did not misstate,

     4    Your Honor.    What I tried to say is that if he is not

     5    lawfully allowed to be there because of his current cus-

     6    todial situation, we would of course go without him.        But

     7    if he is otherwise lawfully allowed to be there, we would

     8    ask that he be allowed to be there unless the Court said

     9    that that is the condition of taking the deposition.

     10                 THE COURT:   Well, you make that decision.

     11   If you decide that you want to have him be there, then

          you file another motion with proper authorities.
     12

     13                 MR. RANDOLPH:   All right.   We will do that.

     14   Thank you, Your Honor.

     15                 THE COURT:   With proper authorities.

     16                 MS. LEYVA:   Your Honor, briefly with respect

     17   to Mr. Lopez-Alvarez, the same with Mr. Pancer in respect

     18   to Mr. Verdugo, and that is that Caro-Quintero's declaration

     19   also affects Mr. Lopez-Alvarez, although it has been filed

    20    by Mr. Gutierrez, and that is the declaration states that

    21    he did not order or participate in the killing of Camarena.

    u     Now, that is relevant to one of the counts that

    23    Mr. Lopez-Alvarez has been charged with, and that is the

    24    aiding and abetting or accessory after the fact.

    25                  THE COURT:   2 told you what the rules are.
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      1   You failed to file any declaration supporting your request

      2   for depositions and therefore I am denying it.      I don't
      3   understand what your point is.     You haven't filed a

      4   declaration.

      5                 MS. LEYVA:   Your Honor, my point is that the

      6   declaration that has been filed on behalf of Felix-Gutierrez

      7   also goes to Mr. Lopez-Alvarez, and on that basis we are

      8   also asking that we be permitted to be at that deposition

      9   of Caro-Quinteros.

     10                 THE COURT:   Well, if nothing, I am consistent.

     11   That is the same request Mr. Pancer made, and therefore

     12   the same ruling obtains.     Denied.

     13                 MS. LEYVA:   Fine, Your Honor.

     14                 THE COURT:   Now, we have a motion by the

     15   Defendant Verdugo for severance of defendants and counts

     16   for trial.    The Court has read and considered this motion

     17   carefully and has reviewed both the points and authorities

     18   and the opposition that has been filed on behalf of the

     19   Government.    The Court's tentative conclusion is that this

     20   motion should be denied for these reasons.

     21                 First, Bruton does not require severance in

     22   this case which has already been discussed with the other

     23   counsel, because the co-defendant's statements are not

     24   facially incriminating.    Defendant's argument that the

     25   co-defendant Lopez' statements are inferentially incriminatin
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      1   does not trigger the narrow exception to the general rule

     2    that a jury instruction may be able to cure prejudice

     3    created through joinder.    In this case a cautionary

     4    instruction that Lopez' statements are to be considered

     5    by the jury only against Defendant Lopez will cure any

     6    prejudice.

     7                 The Court will consider Defendant Verdugo's

     8    motion to exclude the statements pursuant to defendant's

     9    separately filed motion to exclude, and not at this time.

     10                Evidence that Defendant Lopez agreed to murder

     11   a U. S. Customs Agent, if admitted, will not require

     12   severance.   Any prejudicial effect can be neutralized by

     13   careful cautionary jury instructions, which I would invite

     14   counsel to prepare and submit in the event that we need

     15   it.   There is no reason why the jury would not be able

     16   to follow the Court's instruction in this case.

     17                Severance is not required because co-defendant

     18   Lopez might offer exculpatory evidence on behalf of

     19   Defendant Verdugo.   Defendant Verdugo has failed to show

    20    that Lopez would testify and that he would testify no

    21    matter when his case is set for trial, either before or

    u     after.   Moreover, the defendant has failed to show that

    23    such testimony would be favorable to the defendant.      The

    24    evidence does not show that Defendant Verdugo was not a

    2S    member of the alleged narcotics enterprise or that he
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      1    did not participate in the kidnapping and murde
                                                           r of
      2    Agent Camarena.

      3                In order to justify severance of counts,

      4   defendant must show that he has important
                                                    testimony to
      5   give on some counts and a strong reason to refra
                                                           in from
      6   testifying on those he wants severed.     The defendant must
      7   tangibly demonstrate how defending against
                                                     all counts
      8   simultaneously would prejudice his defense.
                                                           Specifically,
      9   the defendant must explain what evidence he would
                                                            proffer
     10   with respect to each charge and why a joint
                                                      trial would

     11   prevent him from taking the stand.     A defendant who testifies

     12   at trial waives his Fifth Amendment privilege
                                                        and may be
     13   cross-examined on matters made relevant by his direc
                                                               t
     14   testimony.   The scope of the defendant's waiver is

     15   co-extensive with the scope of relevant cross-exam
                                                             ination.
     16   The ultimate issue in fixing the scope of cross-exam
                                                               ination
     17   is whether the Government's questions are reaso
                                                          nably related
     18   to the subjects covered by the defendant's testi
                                                           mony.
     19                In this case defendant's alleged involvement

     2d   with the Caro-Quintero narcotics enterprise
                                                      is relevant
     I1   to the murder and kidnapping charge because
                                                      it relates to
     7~   the defendant's motive or intent.     Evidence that the
     23   defendant participated in the enterprise is
                                                      necessary to
     2~   establish the purpose of the Defendant Verdu
                                                       go's alleged
     ! presence at 881 Lope De Vega on February 7, 1985.
     2
                                                                 Therefore,
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      1   evidence of Verdugo's involvement in the enterprise is

      2   relevant and independently admissible as to the murder

      3   and kidnapping counts.

      4                If the trial on the murder and kidnapping

      S   counts is held first, as we must assume for purposes of

     6    this motion, then testimony elicited on cross-examination

      7   concerning defendant's activities in the Caro-Quintero

      8   enterprise would be admissible at the later trial.

      9                As the Court stated in Nolan, that is

     10   United States vs. Nolan, which is a Ninth Circuit case,

     11   Cert denied by the United States Supreme Court in 1983,

     12   "Every time a defendant decides whether to testify, he

     13   must weigh the possibility that the testimony he gives

     14   will later be used against him."

     15                Defendant Verdugo cannot show prejudice due

     16   to joinder because evidence of Verdugo's participation

     17   in the Caro-4uintero enterprise would be admissible in

     18   the kidnapping and murder trial.     Therefore, such evidence

     19   could be elicited during cross-examination in the murder

     20   and kidnapping trial and then admitted in a subsequent

     21   trial on Counts I and II.    As a result the defendant is

     u    not prejudiced by reason of this joinder.

     23                The Defendant Verdugo is not entitled to

     24 ~, severance from co-defendant Felix because the jury will

     25   be able to compartmentalize the evidence relating to Felix.
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      1                The defendant is not entitled to severance

      2   pursuant to Kotteakos -- that is the name of the case --

      3   because the indictment refers to the Caro-Quintero narcotics

      4   enterprise, and not conspiracy.     So first of all the RICO
      5   statute appears to present an appropriate analogy because

      6   Section 1952(b) incorporates RICO's definition of racket-

      7   Bering activity and of a concept of an enterprise as

      8   embodied in RICO.   RICO was intended to authorize the

      9   single prosecution of a multi-faceted, diversified con-

     10   spiracy through the creation of a new statutory concept

     11   called the enterprise.     RICO redefined the objective of

     12   the conspiracy as actions in furtherance of the enterprise's

     13   affairs, and not merely as fulfillment of a discrete

     14   criminal act.   The indictment in this case alleges that

     15   defendants, through participation in predicate acts, such

     16   as marijuana and cocaine trafficking, acted with the                I~
     17   intention of furthering the enterprise's affairs.

     18                For all of these reasons severance is not,

     19   in the view of the Court, appropriate.

     20                MR. PANCER:    Your Honor, I have nothing further.

     21   I would ask to be excused.    I have a matter in another
     u    court.   That was the last motion I was concerned with.

     23               THE COURT:     All right.

     24               Now, we have a motion filed on behalf of all

     25   defendants for bills of particulars in the Caro-Quintero
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      1   case ~- Defendants Verdugo-Urquidez, Felix-Gutierrez, and

     2    Lopez-Alvarez.   They have brought separate motions for

     3    bills of particulars.    Mr. Verdugo makes 22 requests for

     4    information by a bill of particulars.     Felix makes 13

     5    requests, and Lopez-Alvarez makes 28.

     6                 I want to first discuss this legal framework

     7    under which we are operating.    Rule 7(f) provides that

      S   the Court may direct the filing of a bill of particulars.

     9    A motion for a bill of particulars may be made before

     10   arraignment or within ten days after arraignment or at

     11   such later time as the Court may permit.     The function
          of a bill of particulars is to provide defendant with
     12
          information about the details of the charge against him
     13

     14   if necessary to the preparation of his defense and to

     15   avoid prejudicial surprise at trial.     A defendant can

     16   be sufficiently advised of the nature of the charge without

     17   requiring the Government to go into matters of detail.

     18   However, the sole issue before the Court in determining

     19   whether to grant a bill of particulars is whether the

    20    defendant has received adequate notice of the charges

    21    against which he must defend so that he may adequately

    u     prepare his defense and avoid unfair surprise at trial.

    23                 The Court has broad discretion in determining

    24    whether a motion for a bill of particulars should be

    2S    granted.   The Government and the defendants have each cited
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      1   cases which arguably support their positions with respect

      2   to each request for a bill of particulars.

      3                But as Professor Wright points out precedent

      4   may be found which supports or rejects virtually every

      5   request for a bill of particulars.     The usefulness of

      6   the citations provided in the moving and opposition papers

      7   is further diminished by the lack of detail in the descrip-

      8   tion of the indictments found in the written opinions.

      9   So standing alone without information as to the details

     10   of the indictment, they are not too helpful.      But a review

     11   of Ninth Circuit authority, on which the Government heavily

     12   relies, may be useful in determining what kind of informa-

     13   tion the defendant has a right to receive.

     14               The most recent Ninth Circuit case discussing

     15   a bill of particulars is United States vs. Ryland,

     16   806 Fed.2nd 941, Ninth Circuit, 1986, certiorari denied

     17   107 Supreme Court 2199.    Ryland was convicted of various

     18   conspiracy charges and of violating the RICO statute.

     19   On appeal Ryland complained that his request for a bill

     20   of particulars had been denied.    The Court of Appeals

     21   held that Ryland's argument regarding the denial of a

     22   bill of particulars misconstrues the purpose of the bill

     23   of particulars.   A defendant is not entitled to know all

     24 the evidence the Government intends to produce, but only

     25   the theory of the Government's case.     He is not entitled
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      1   to know the content of the testimony of each of the

     2    Government's witnesses before trial.

     3                  The Ninth Circuit's decision in Di Cesare vs.

     4    United States, 765 Fed.2nd 890, 1985, analyzes more

     S    thoroughly than Ryland a request for a bill of particulars.

     6    Di Cesare and Flannery entered conditional guilty pleas

     7    after being indicted on various drug charges.      They appealed

     8    their convictions on the ground, among others, that the

     9    District Court had erroneously denied their motion for a

     10   bill of particulars.    They had requested a bill for three

     11   reasons:   to obtain the names of any unknown co-conspirators,

          to determine the exact date on which the conspiracy
     12

     13   allegedly began, and to delineate all other overt acts

     14   that comprised the charged activity.     The Court said that

     15   these reasons, however, do not warrant a bill of particulars.

     16   Moreover, neither one of these people specified any

     17   prejudice or surprise resulting from denial of the bill.

     18                 There are a number of other cases -- United

     19   States vs. Long.    There was an appeal of a conviction

    20    on the ground of denial of a bill of particulars.      The

    21    Court said:

    u                        "A motion for a bill of particulars

    23                  is appropriate where a defendant requires

    24                  clarification in order to prepare a defense.

    25                  It is denied to apprise the defendant of
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      1                the specific charges being presented to

      2                minimize the danger of surprise at trial,

      3                to aid in preparation, and to protect

      4                against double jeopardy.    Long alleges

                       that the indictment lacked specificity.
      5

      6                As a result he argues that he was

      7                severely hampered in his preparation

                       and ability to present an adequate
      8

      9                defense.

                            "In determining if a bill of par-
     10
                      ticulars should be ordered in a specific
     11
                       case, a Court should consider whether the
     12
                       defendant has been advised adequately of
     13
                       the charges through the indictment and
     14
                       all other disclosures made by the
     15

     16                Government.   Full discovery will obviate

     17                the need for a bill of particulars.     A

     18                review of the record in this case reveals

     19               .that Long's counsel advised the District

     20                Court that full discovery had been made."

     21               In a case called United States vs. Giese, the

     22   Court stated that there is no requirement in conspiracy

          cases that the Government disclose even all the overt acts
     23
          in furtherance of a conspiracy.     The appellant's request
     24

     2S   for when, where, and how of every act in furtherance of
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              1   the conspiracy was equivalent to a request for complete

              2   discovery of the Government's evidence, which is not a

              3   purpose of the bill of particulars.     A defendant is not

             4    entitled to know all the evidence the Government intends

              S   to produce but only the theory of the Government's case.

             6                So the Court's analysis in this case begins

              7   with an appraisal of the information which the Government

              8   has provided the defendants through the indictment and

             9    possibly information furnished through discovery.       The

             10   indictment gives the defendants information beyond the

             11   bare minimum needed to sustain against a challenge.

             12               The requests for bills of particulars by

             13   Verdugo -- I am going to just give you the ones that I

             14 IC believe are appropriate to grant, and the others are all

             15   inappropriate in the framework that I have just discussed

             16   with you.

    E        17               In the number one request by Verdugo, he seeks

             18   in his first request a bill compelling the Government to

             19   specify any racketeering activity not alleged in Count I

            20    which the Government intends to introduce at trial to

            21    establish the elements of Count I.

            22                The Government implies in its opposition to

            23    this request that the defendant's request is analogous to

            24    a request for a listing of all overt acts which the

            2S    Government might seek to prove in a conspiracy case.


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          1                As I have already said, the Government is not

          2   required to disclose all overt acts of a defendant.

          3                A request for a bill of particulars specifying

          4   racketeering activity may be distinguishable from a request

          5   for a bill of particulars specifying overt acts.       Under

          6   conspiracy law knowledge of an overt act is not essential

          7   to proving a conspiracy.    Under Section 1952(b) of Title

          S   18 knowledge of racketeering activity is presumably an

          9   essential element of the offense.     1952(b), under which

         10   the defendants are charged in Counts I and II of the

         11   indictment, provides that one who engages in murder and

         12   kidnapping, among other things, in order to maintain or

         13   increase one's position in a racketeering enterprise is

         14   guilty of an offense.    While no case has defined the

         15   elements of Section 1952(b), the defendant's contemporaneous

         16   knowledge of the enterprise's racketeering activity is

         17   undoubtedly an essential element of the offense.

         18                Since the offense requires that the defendant

         19   knows about an act of racketeering activity, the defenda
                                                                       nt
         20   is entitled to be apprised fully of any racketeering act

         21   engaged in by the enterprise which the Government intends

         u    to rely upon in order to prove defendant's contemporaneous

         23   knowledge.

         24                So I would grant this first request.

         25                I would deny the second request, which seeks


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      1   date, time, and place of the alleged conspiracy.
                                                                 I have
      2   already discussed the case of Di Cesare vs. United
                                                             States,
      3   which states that the defendant need no greater specificity
      4   to prepare his case than is alleged in the indictment.
      5                I would deny No. 3, which seeks date, time,
      6   and place when each other co-conspirator allegedly
                                                             joined
      7   the conspiracy.

      8                No. 4 seeks the present whereabouts -- names
      9   and present whereabouts of all members of the Caro-Quinter
                                                                     o
     10   narcotics enterprise who were present during the kidnap
                                                                  ping
     11    of   Camarena.   The defendant is not entitled to this

     12   information, except he is entitled to seek information

     13   as to his presence at the kidnapping.     If it is the
     14   Government's theory that he was present or participated

     15   in it, he ought to know about it.

     16               In other words, is he charged as a principal
     17   or as an aider and abettor?    If he is charged as a
     18   principal, then he ought to know.    On the other hand,
     19   if he is charged as an aider and abettor, he is entitled
     20   to know the theory.   The indictment alleges both and com-
     21   bines them in one indictment.
     u                Now, in respect to this, the defendant is not
     23   entitled to a response in full since the Government is under
     24   no obligation to provide him with a witness list.      The
     25   defendant may be entitled to information under this
                                                              request
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      1   to the extent he seeks information about his presence.        It

      2   is unclear from a reading of Counts I, II, and III whether

      3   the Government is proceeding on the theory that Verdugo-

      4   Urquidez participated as a principal in the kidnapping

      S   of Camarena or whether the Government bases its charges

      6   on the theory that the defendant is liable as a conspirator

      7   or as an cider and abettor.     Ninth Circuit precedent entitle

      8   a defendant to information about the theory of the

      9   Government's case.     That is basically what it is -- whether

     10   both or one or the other.

     11                  The defendant is entitled arguably and probably

     12   should be to notice of the overt acts he allegedly took, he

     13   himself took, in furtherance of the conspiracy or the

     14   crime in order to avoid unfair surprise at trial.

     15                  I would deny the No. 5 request for the reasons

     16   previously discussed.

     17                  No. 6 is a request for the names and present

     18   whereabouts of all persons known to be present and alleged

     19   to have participated in the torture, interrogation, and

     20   murder of Camarena.    For the reasons previously stated,

     21   the defendant is not entitled to that.

     Z2               In No. 7 the defendant seeks information as

     23   to the manner in which defendant participated in the murder

     24   of Camarena.    Well, this again goes to the issue of whether

     25   he was a principal or cider and abettor.     The defendant
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      1   is not entitled to know the evidence which the Government

      2   will present.   On the other hand, if the Government intends
      3   to proceed solely on the theory that the defendant aided
     4    and abetted a kidnapping, the defendant should be entitled
      5   to know that that is the theory.     I don't believe that
     6    he is entitled to acts which the Government contends
      7   constitutes aiding and abetting.     That would be providing
      8   the evidentiary basis for the claim.     Aiding and abetting
     9    is sufficient to put the defendant on notice.

     10                No. 8 is denied because defendant is not
     it   entitled to the names of the co-conspirators.

     12                No. 9 is denied.   As long as the defendant
     13   has notice of the Government's theory of this case,

     14   fail~are to provide this information will not lead to

     15   unfair surprise at trial.
     16                No. 10, defendant seeks names and present
     17   whereabouts of all persons allegedly known to be present
     18   when Caro-Quintero allegedly ordered the kidnapping of
     19   Camarena.   Defendant is not entitled to obtain names of
     20   unknown conspirators.
     21               No. 11 should be denied for the same reason.
     u    The defendant seeks the names and present whereabouts
     23   of members of the enterprise.
     24               No. 12 is denied.    The Government is not required
     2S   to disclose how an overt act furthered the conspiracy.
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      1                   No. 13 is denied for the same reasons set

      2       forth in the previous one.   The Government is not required

      3       to disclose the manner in which the defendant furthered

      4       the conspiracy by going to the site of Camarena's alleged

      5       torture.

     6                    No. 14 is denied.   That is a request of where,

      7       when, and how of every act, and that is beyond the scope

      8       of a bill of particulars.

      9                   No. 15 is denied.   The Government need not

     10       delineate all overt acts that comprise the charged activity.

     I1                   No. 16 is denied also.    The defendant is not

     12       entitled to a detailed accounting of evidence which he

     13       seeks.

     14                   No. 17 is denied for the same reason as the

     15       previous one, as 16.

     16                   No. 18, the defendant seeks the theory of

     17 prosecution of defendant for violating Title 18, Section

     18       1111(a) and information as to whether the Government

     19       intends to introduce evidence that the defendant partici-

     20       gated in the murder of Camarena.     The defendant is entitled

          I
     21 ~ to know whether the Government intends to rely solely upon

              the defendant's alleged role in the kidnapping of Camarena,

     2~       that is, a felony murder theory, or whether the Government

     24       will seek to prove that the defendant participated directly

     25       in the murder.   The defendant is entitled to the theory
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      1   of the Government's case.

      2                 No. 19 is denied.   The defendant is not entitled

      3   to know the content of the evidence which the Government

     4    will present.

     5                  No. 20 is denied.   The defendant seeks to

     6    compel the Government to specify whether it will seek to

      7   prove first or second degree within the allegations of

      8   Count 5,    The Government need not answer this request

     9    for information since under any theory of the case the

     10   defendant is chargeable with first degree murder.

     it   18 U.S.C. 1111(a) states that every murder committed in

     12   the perpetration of any kidnapping is murder in the first

     13   degree.

     14                 No. 21 is denied for the reasons discussed

     15   in the previous analysis of No. 20.

     16                 No. 22 seeks to compel the Government to specify

     17   all actions and circumstances supporting the element of

     18   malice.    If the Government is relying upon the felony

     19   murder theory, the underlying felony establishes the

    20    requisite malice.   That is from the case of United States

    21    vs. Lilly, Ninth Circuit, 1975.    If the Government is

    22    not relying upon the felony murder rule, it is nonetheless

    23    not required to marshal its evidence before trial for the

     24   benefit of the defendant.

     25                That concludes the rulings on the Verdugo
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      1   bill of particulars.

      2                With respect to the Lopez request the defendant

      3   there is entitled to specification of whether the Government

      4   contends that the defendant kidnapped or aided and abetted

      5   in the kidnap.   This request should be granted -- that is,

     6    the theory of the Government's case against Lopez.       That
      7   would be No. 5 which would be granted.

      8               No. 9 is again a request for specification of

      9   the theory, whether it is a direct murder or aided and

     10   abetted the murder.    This should be granted.    The defendant

     11   is entitled to know the theory.

     12               No. 10 should be granted.     The defendant's

     13   request should be granted to seek specification of whether

     14   the Government contends that the defendant transported or

     15   aided and abetted in the transportation of the bodies.

     16   If the Government proceeds on the theory that the defendant

     17   aided and abetted the alleged crimes or on the theory that

     18   defendant is an accessory after the fact, the indictment

     19   may be a little skimpy on the information, and to avoid

     20   the possibility of unfair surprise at trial, that should

     21   be clarified.

     22               Incidentally, counsel who are waiting on these

     2~   other civil matters, I must apologize for this delay, but

     24   we will be getting to you very shortly.     We are almost

     25   finished.
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      1                  The defendant in No. 11 seeks information as

      2   to the manner in which the defendant participated in the

      3   murder/kidnapping of Camarena.     If the Government is proceed

      4   ing on the theory that Lopez was a principal, further

      5   specification of the manner in which he participated is

     6    unnecessary.    Defendant is not entitled to know the

      7   evidence which the Government will present.      If, on the

      8   other hand, the Government intends to proceed solely on

      9   the theory that the defendant aided and abetted in the

     10   kidnap and murder, that is sufficient to put the defendant

     11   on notice without a specification of the acts which the

     12   Government contends constitute aiding and abetting.       The

     13   defendant will be on notice, and the Court does not view

     14   that as involving surprise.

     15                No. 12 I would deny for reasons I have already

     16   stated.

     17                13 and 14 are also denied.    15 and 16 and 17

     18   and 18 are denied.

     19                19 also is denied as well as 20.

     20                21, 22, 23, 24, 25, 26, 27, and 28 are denied

     21   as not being within the scope of a bill of particulars.

     22                The Defendant Felix-Gutierrez has filed 13

     23   requests, all of which are denied for a bill of particulars,

     24   mostly because of the same reasons that I have already

     2S   discussed.
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          1                 That would be the ruling of the Court on the

          2   bill of particulars.

          3                 MS. BROOKS:    Your Honor, may I be heard on

          4   just one item on Mr. Verdugo's.       That would be Item 17.

          5                 THE COURT:    Yes.

          6                 MS. BROOKS:    Thank you.   Your Honor, Item No.

          7   17 should have read just like Item No. 18, which the

          8   Court granted, in relation to the murder.       Item 17 is in
          9   relation to the conspiracy -- actually 16 is in relation

         10   to the conspiracy to kidnap.       17 is in relation to the

         it   substantive kidnapping offense.      We phrased it to specify

         12   the manner.    It would have been more appropriate to have

         13   said to specify the Government's theory as to how

         14   Rene Verdugo participated in the conspiracy to kidnap and

         15   the kidnapping.    We are completely in the dark as to that.

         16   We have no idea of what the Government's theory is as to

         17   Mr. Verdugo's participation.

         18                 If they are saying mere presence in Guadalajara

         19   at the time of the kidnapping is their theory, that is

         20   fine.   If they could just tell us that.     We are not asking
         21   for his actions.   We are asking for the Government's theory,
         u    which the Court did grant in relation to the murder.

         23                 THE COURT:    Well, you are entitled to the
         24   Government's theory.

         25                 MS. BROOKS:    That is what we are asking for.


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      1   I apologize to the Court.      We didn't word 16 and 17 properly.

      2   It should have read just as 18 did, which is to specify

      3   the theory of the prosecution only in relation to Counts

      4    3   and 4   instead of Count 5, the murder.

      5                 THE COURT:    All right.    The theory may be

      6   provided, also as to that account.

      7                MS. BROOKS:     Thank you, Your Honor.

      8                MR. GURULE:     Is the theory, Your Honor, regard-

      9   ing principal versus cider and abettor?          When we leave

     10   the courtroom, I don't want there to be a misunderstanding

     11   between Ms. Brooks and myself as to what the Court is

     12   requiring the Government to do here.        I don't want that

     13   to be misinterpreted as the manner, and then the Government

     14   having to detail all of its evidence that it has regarding --

     15                THE COURT:     You don't have to give any evidence.

     16   I have already said that.

     17                MR. GU RULE:   Fine, Your Honor.

     18                THE COURT:     This relates to what count?

     19                MS. BROOKS:     Counts   3   and   4, Your Honor,
     20   the conspiracy to kidnap and the kidnapping.        We are asking

     21   for the Government's theory of prosecution.

     22                THE COURT:     When you say the "theory of

     23   prosecution," the theory is that your client was a member

     24   of the conspiracy.

     25                MS. BROOKS:     Unfortunately we have no idea
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      1   what the Government's theory is behind that.

      2                THE COURT:    Well, you mean you don't have the

      3   evidence on which they rely to prove it?

     4                 MS. BROOKS:    We don't know principal.    We don't

      S   know aider and abettor.     We don't know whether it was mere

     6    presence.

                      THE COURT:     You know, in a conspiracy you are

      8   not talking about aider and abettor.     We are talking about

     9    it was knowledgeable membership in a conspiracy.

     10               MS. BROOKS:     I understand that, Your Honor.

     11   Our problem is there is nothing in the indictment to

     12   indicate how Mr. Verdugo is involved in the conspiracy

     13   to kidnap, and in the 2500 pages of discovery that we have

     14   received in relation to Mr. Verdugo, it is less than a

     15   quarter inch that pertains to him.

     16               THE COURT:     I deny your request, as I have

     17   already indicated previously.

     18               MS. BROOKS:     On 16?

     19               THE COURT:     It appears to be a request for

    20    evidentiary theory.

    21                MS. BROOKS:     And, Your Honor, on Item 17

    22    our request would be --

    23                THE COURT:     Denied.

     24               MS. BROOKS:    Again as to principal or cider

    25    and abettor in relation to the kidnapping?
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           1                 THE COURT:    Well, that would be granted as

           2   to whether or not he is an aider and abettor or principal.

           3                 MS. BROOKS:    Thank you, Your Honor.

           4                 MS. LEYVA:    Your Honor, briefly with respect

           5   to Lopez-Alvarez, Requests Nos. 7 and 8 are also requests

           6   for theory of the case as to whether he is alleged to be

           7   a principal or an cider and abettor, and I would request

           8   of the Court that the Court reconsider the denial.

           9                 THE COURT:    In No. 7 the defendant seeks the

          10   names of all -- it is referred to as other members of the

          it   enterprise.    Is that the one?

          12                 MS. LEYVA:    No, it is not.     It is page 3 of

          13   our motion.

          14                 THE COURT:    Well, what number?

          15                 MS. LEYVA:    Nos. 7 and 8.

          16                 THE COURT:    What number is the request?

          17                 MS. LEYVA:    The request, Your Honor, is No. 7

          18   and No. 8, and they appear on page 3.

          19                 MR. GURULE:    I think the Court may be looking

          20   at Mr. Felix-Gutierrez' request.         It would be Mr. Lopez'

          21   request.

          22                 THE COURT:    All right.    Let me look at that.
          23   Lopez-Alvarez, No. 7.

          24                 MS. LEYVA:    No. 7 and No. 8.

          25                 THE COURT:    No. 7 is that the defendant seeks


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      1   specification as to whether the Government contends that

      2   the defendant participated in the torture or aided and

      3   abetted the torture.

      4                Well, this is the same request the other

      S   defendants have made.     You are asking for the theory of

      6   the prosecution, whether it is as an aider and abettor

      7   or a principal?

      8                MS. LEYVA:   Yes, and that goes to Requests

      9   No. 7 and No. 8, Your Honor.

     10                THE COURT:   That may be specified as to whether

     I1   the theory of the prosecution is as an aider and abettor

     12   or as a principal as to both No. 7 and No. 8.

     13               MS, LEYVA:    Your Honor, and the other matter

     14   with respect to the portions that the Court has granted,

     15   will the Court give us a date when we will receive the

     16   specifications of the Government so that we may proceed

     17   with our investigation.

     18               THE COURT:    Ten days.   The Government is

     19   ordered to file and serve the bill of particulars in
                                                               ten
     20   days.

     21               MR. GURULE:     Thank you, Your Honor.

     22               MR. RANDOLPH:    May I, Your Honor?    With

     23   respect to one of ours, it has the phrase "and elsewh
                                                                ere."
     24   That phrase appears in the indictment where they refer

     25   to the accessory after the fact actions of Jesus Felix.
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i              ~   The Government states:    "From in or about February 1985 to
               Z   April 4, 1985, in Mexico, Costa Rica, and elsewhere.
                                                                        "
               3                Our problem is that we don't know whether to

               q   investigate activity in Mexico, Costa Rica, or the
                                                                      rest
               S   of the world, and at least they were able to be
                                                                   more
               6   specific in the general allegations.

               ~                In No. 3 of the indictment they say that the

               g   Caro-Quintero narcotics enterprise engaged in activ
                                                                       ities
               9   in Mexico, Colombia, Costa Rica, and the Central Distr
                                                                          ict
              10   of California.

              ~~                I will submit all the others, Your Honor, but

              12   with respect to "and elsewhere," we need a little
                                                                     more
              13   specificity so we know where to be focusing our inves
                                                                         tiga-
~             14   tion.   We don't know if we need the United States, Colom
                                                                             bia.
              15   We just don't know.

    10        ~6               THE COURT:    The Court adopts its stated tenta-
              ~~   tive ruling without change.

              ~g               MR. GURULE:   May I inquire as to just one item
              ~g   that the Government is required to disclose, Your
                                                                     Honor.
              20   This is again for clarification so I don't have to
                                                                      come
              21   back to the Court and seek further clarification.

              u                As to Defendant Verdugo's motion for bill of

              23   Particulars, and only as to Item No. 1, which the
                                                                     Court
              Zq   granted, and that is the disclosure of other racke
                                                                      teering
              25 activity, now, is the Court saying there that the Government
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      1   has to disclose other racketeering activity which the

      2   Government intends to introduce as to Verdugo, in other

      3   words, other racketeering activity that Defendant Verdugo

     4    participated in that is not specified in the indictment?

      5   Is the Court saying --

     6                   THE COURT:    Well, the request was for a bill

      7   of particulars to compel the Government to specify any

      8   racketeering activity not alleged in Count I which the

     9    Government intends to introduce at trial to establish

     10   the elements of Count I.

     11                  MR, GURULE:    So, in that sense, what is being

     12   requested is racketeering activity which relates to any

     13   other co-defendant in the case even if it is not, per se,

     14   being admitted as to Defendant Verdugo.       For instance, if

     15   there is racketeering activity for narcotics trafficking

     16   activity, to really put it in its layman terms, or

     17   narcotics activity that the Defendant Jesus Felix is

     18   involved in, specifically 404(b) type of activity that

     19   is not specified in the indictment, then the Court would

     20   be saying that the Government has to disclose that in

     21   advance, and I don't believe that that is the law in the

     u    Ninth Circuit, and again I think it would go back to

     23   basically having to disclose all of its evidence of any

     24   narcotics --

     2S               THE COURT:       You don't need to disclose all
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      1   the evidence, just your theory on the charges against

          this defendant on the racketeering charges.
      2

      3                  MR. GURULE:     Just the theory.

      4                  THE COURT:    Yes.

                         MR. GURULE:    Thank you, Your Honor.
      5

      6                  MR. RANDOLPH:    With respect to that one, Your

          Honor, would the Court entertain making the same order
      7
          with respect to racketeering activity alleged against
      8
          Jesus Felix?
      9
                         THE COURT:    No, unless you made that request.
     10
          I have ruled on all the requests that were made, and I don't
     11
          want anymore of this off-the-cuff business.
     12
                       You filed a motion for sanctions or alternatively
     13
          for a continuance for non-compliance with the Court's
     14
          discovery order.    What is that about?
     15
                       MR. RANDOLPH:      Well, Your Honor, the Government
     16
          was ordered by the Court on or about, I believe, March 21,
     17

     18   to comply with the discovery orders and produce discovery

          to the defendants on or before March 31.
     19

     20               As we noted in our motion for sanctions, Your

          Honor, on four different occasions up to and including a
     21
          week ago, the Government has submitted over 100 pages of

          discovery that they should have disclosed by March 31.
     23
          This discovery fell within the Court's order, and it
     24

     25   contained -- a vast majority of the material was in the
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      1   Government's possession for several months, if not for

      2   several years.   The Government did not see fit to respond

      3   to our motion and provide the Court with an explanation

     4    as to why they didn't timely comply with the Court's

     S    discovery orders.

     6                We ask for sanctions, the sanction being --

      7   the most severe sanction would be not only the discovery,

     8    but none of the information contained therein could be

     9    used against the Defendant Felix.

     10               Since this motion is being brought before

     11   the trial, that is why we included the alternate sanction

     12   that the Court grant the Defendant Felix sufficient time

     13   to integrate the belated discovery into Defendant Felix'

     14   investigation, which is ongoing, as the Court knows, and

     15   grant us a comparable period of time within which to

     16   complete our investigation because of the Government's

     17   inability or what have you to comply with the Court's

     18   orders.

     19               THE COURT:    Well, first let me hear from you

    20    on this.

    21                MR. GURULE:   Your Honor, as the Court can

    u     well appreciate, in light of the fact that the indictment

    23    was returned actually five months ago to the day, the

    24    investigation in this case has not remained static, and

    2S    there have been additional witnesses since the return
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      1   of the indictment, since the cut-off date that the Court

      2   has given the Government for discovery; and based on

      3   additional evidence that has come to the Government's

      4   attention, additional witnesses that have agreed to

      5   testify for the Government, it has generated additional

      6   discovery.

      7                I am not saying that -- I don't mean to be

      8   misunderstood that every item of discovery that has been

      9   disclosed after the cut-off date is new evidence, but

     10   certainly a good portion of that evidence is new evidence.

     11                Secondly, there have been items that have

     12   come to our attention after Mr. Campos and I have somewhat

     13   debated whether they arguably constituted Brady.       For

     14   instance, there have been a number of FBI fingerprint

     15   reports that turned out to be negative, in other words,

     16   they did not match -- the fingerprints found at Lope De

     17   Vega did not match the defendant's.

     18                We made a decision after the fact to err on

     19   the side of caution and to disclose that documents as

     20   possibly being Brady.

     21                THE COURT:    All right.

     22                MR. GURULE:    So there is certainly nothing

     23   dilatory in that regard, and that has happened on occasio
                                                                    n
     24   as well.

     25                THE COURT:    Well, the motion for sanctions is
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      1   denied.   I propose to -- the present trial date is June 28.

      2   Is that right?

      3                MR. RANDOLPH:   It is, Your Honor.

      4                THE COURT:   In view of the fact that we have

      S   another wave of motions to resolve on the 20th and some

      6   of the rulings that have been made today, the Court is

      7   of the view that this case should be continued for a brief

      8   time for trial.   I will insist that it proceed at that time,

      9   and I will expect it to proceed, and there will not be any

     10   change.   That date would be July 19.

     11                MR. RANDOLPH:   May I address that, Your Honor?

     12               THE COURT:    Is there a problem with the date?

     13               MR. RANDOLPH:    Yes, there is, Your Honor.

     14               THE COURT:    What is the problem?

     15               MR. RANDOLPH:    Two problems.   First, in our

     16   reply on the motion for sanctions --

     17               THE COURT:    Tell me what the problem is.

     18               MR. RANDOLPH:    Two problems, Your Honor.     First,

     19   I don't think that July 19 -- my investigation into how

     20   long the out-of-country depositions will take advises me

     21   that it is going to take approximately 60 days to complete

     u    that process.

     23               The second thing is that I am trailing for

     24   trial, as I pointed out, in State Court, and I have two

     25   trials.
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      1                  THE COURT:    Counsel, I was prepared to go
      2   ahead with this case on June 28.

      3                  MR. RANDOLPH:   I understand that.
      4                  THE COURT:   If you would prefer that, we can
      5   still do it.    July 19 is the best I can do for you.

      6                MR. RANDOLPH:     May I respond to what the
      7   Government said.

      g                I think that Mr. Gurule is being less than

      9   candid in his statement that a good portion
                                                      of the evidence -
     ~p                THE COURT:     You may not respond.
     ~~                MR. R.ANDOLPH:    Well, he is not being truthful
     12   with the Court.

     13                THE COURT:     You may not respond.    If you wish
     14   the date to remain as presently set on
                                                 June 28, we will
     1S   leave it set on the 28th.

     16               MR. RANDOLPH:      I don't --
     17               THE COURT:      If you wish to have it continued
     18   to July 19, I am prepared to do that.

     19               MR. RANDOLPH:      Would the Court consider an
     20   additional week?    That would give me 60 days to complete

     Z1   the deposition of Caro-Quintero.

     22               THE COURT:      July 19.   The present trial date
     23   will be vacated and continued to July the
                                                    19th.
     24               MR. GURULE:      Thank you, Your Honor.
     25               THE COURT:      If there is nothing further, we
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      1   will adjourn.

      2                MR. RANDOLPH:      Your Honor, there is one further

      3   matter.   Mr. Gurule stood up in court earlier today and

      4   started to what I would characterize as a tirade about

      5   the alleged violence in activities of members of this

      6   organization, which was unspecified.      I would ask the

      7   Court either to have Mr. Gurule place before the Court

      8   and counsel some evidence of the violence and the organi-

      9   zation which he is referring to or else sanction him.

          Please admonish Mr. Gurule --
     10

     11               THE COURT:    Counsel, you are wasting my time.
          What counsel said is not evidence.      It is not viewed by
     12
          the Court as evidence.   I pay no attention to these kinds
     13

     14   of assertions.   I pay less attention to the type of

     15   incrimination you are engaged in now.      It is not helpful

     16   in getting this case finished.

     17               We are going to adjourn at this time.

     18               MR. RANDOLPH:    Thank you, Your Honor.

     19               (Proceeding concluded.)

     20               I hereby certify that the foregoing is

     21               a correct transcript of the proceedings

     22               had on the record in the above-entitled

     29               matter.

     24

     25                             _~~        ~—          ~
                      Official Reporter                 Date
